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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------ X
GOVERNMENT EMPLOYEES INSURANCE
COMPANY, GEICO INDEMNITY COMPANY,
GEICO GENERAL INSURANCE COMPANY and                            Docket No.:1:23-cv-04091-RER-LB
GEICO CASUALTY COMPANY,

                                   Plaintiffs,
                                                                   Plaintiff Demands a Trial by
              -against-                                            Jury

TRISTATE PSYCHOLOGICAL INJURY SERVICES, P.C.,
SCOTT LLOYD, PH.D. (A Sole Proprietorship), SCOTT
LLOYD, PH.D., GARY GRODY a/k/a LANCE GRODY,
NAZIM TARIVERDIEV, KIANAN TARIVERDIEV,
VLADISLAV STOYANOVSKY, DMITRIY KHAVKO,
DILSHOD ISLAMOV a/k/a “DILAN”, EDUARD PAKOYS
a/k/a “EDDIE”, FINANCIAL VISION CAPITAL GROUP II
LLC f/k/a ADF EQUITIES, LLC, and JOHN DOE
DEFENDANTS “1” - “10”,
                                Defendants.
------------------------------------------X

                                AMENDED COMPLAINT

Plaintiffs Government Employees Insurance Company, GEICO Indemnity Company, GEICO

General Insurance Company, and GEICO Casualty Company (collectively “GEICO” or

“Plaintiffs”), as and for their Complaint against Defendants Tristate Psychological Injury

Services, P.C. (“Tristate”), Scott Lloyd, Ph.D. (a Sole Proprietorship)(“SLSP”), Scott Lloyd,
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Ph.D. (“Lloyd”), Gary Grody a/k/a Lance Grody (“Grody”), Nazim Tariverdiev (“N.

Tariverdiev”), Kianan Tariverdiev (“K. Tariverdiev”), Vladislav Stoyanovsky (“Stoyanovsky”),

Dmitriy Khavko (“Khavko”), Dilshod Islamov a/k/a “Dilan” (“Islamov”), Eduard Pakoys a/k/a

“Eddie” (“Pakoys”), Financial Vision Capital Group II LLC f/k/a ADF Equities, LLC (“Financial

Vision”), and John Doe Defendants “1” through “10” (“John Doe Defendants”)(collectively, the

“Defendants”), hereby allege as follows:

                                   NATURE OF THE ACTION

       1.      This action seeks to recover more than $520,000.00 that Defendants wrongfully

obtained from GEICO by submitting, and causing to be submitted, thousands of fraudulent,

unlawful, and otherwise non-reimbursable no-fault insurance charges for purported psychology

services, including psychiatric diagnostic evaluations, neurobehavioral status exams, psychological

testing, neuropsychological testing, psychotherapy sessions, and record reviews (the “Fraudulent

Services”). The Fraudulent Services purportedly were provided to individuals claimed to have

been involved in automobile accidents and eligible for coverage under GEICO no-fault insurance

policies (“Insureds”).

       2.      In addition, GEICO seeks a declaration that it is not legally obligated to pay more

than $675,000.00 in pending no-fault insurance claims that have been submitted by or on behalf of

Defendants Tristate and SLSP (collectively, “Lloyd Entity Defendants”) because:

               (i)       the Fraudulent Services were allegedly provided by and billed through the
                         Lloyd Entity Defendants, which are psychological “practices” not under
                         the control and direction of Lloyd, but rather, were at all relevant times
                         operated, managed, and controlled by the Management Defendants (as
                         defined below), Financial Vision and the John Doe Defendants, all of
                         whom are who are unlicensed laypersons, for purposes of effectuating a
                         large-scale insurance fraud scheme on GEICO and other New York
                         automobile insurers;




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               (ii)    the Fraudulent Services were provided, to the extent provided at all,
                       pursuant to the dictates of unlicensed laypersons and were not in
                       compliance with all significant laws and regulations governing healthcare
                       practice and/or licensing laws and, therefore, were not eligible for no-fault
                       reimbursement in the first instance;

               (iii)   the Fraudulent Services were provided, to the extent provided at all,
                       pursuant to illegal kickback and referral arrangements established between
                       the Management Defendants and the Clinics (as defined below);

               (iv)    the Fraudulent Services were not medically justified and were provided, to
                       the extent provided at all, pursuant to pre-determined fraudulent protocols
                       designed solely to financially enrich the Defendants, rather than to treat or
                       otherwise benefit the Insureds who purportedly were subjected to them;

               (v)     the claim submissions seeking payment for the Fraudulent Services
                       misrepresented and exaggerated the level of services that purportedly were
                       provided to Insureds in order to inflate the charges submitted to GEICO
                       and other New York automobile insurers; and

               (vi)    the Fraudulent Services were provided, to the extent provided at all, by
                       “social workers” who, were for the most part unlicensed, were never under
                       the supervision of any licensed individual in contravention of New York
                       law and were never employed by the Lloyd Entity Defendants.

       3.      Specifically, the Defendants, engaged in a massive fraudulent insurance scheme

against GEICO and the New York automobile insurance industry through which they billed

GEICO alone more than $1.25 million through the Lloyd Entity Defendants for the alleged

performance of the Fraudulent Services at more than fifteen (15) separate locations from May 2019

through July 2021.

       4.      Notably, more than 900 separate bills were submitted to GEICO seeking payment

of no-fault benefits for the Fraudulent Services, all of which represented that Lloyd was the

legitimate owner of the Lloyd Entity Defendants and that he performed all the Fraudulent Services.

In truth, Lloyd performed none of the Fraudulent Services and did not legitimately operate or

manage the Lloyd Entity Defendants.




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       5.     At all relevant times, the Lloyd Entity Defendants and their assets were

unlawfully owned, managed and controlled by Grody, N. Tariverdiev, K. Tariverdiev,

Stoyanovsky, Khavko, Islamov, and Pakoys (collectively, the “Management Defendants”), none of

whom are licensed healthcare professionals. Lloyd did not perform any of the Fraudulent

Services, did not otherwise treat the Insureds, and did not operate, manage, or control the Lloyd

Entity Defendants. Lloyd knowingly permitted unlicensed laypersons – including the

Management Defendants – to control the Lloyd Entity Defendants and bill GEICO and other

New York automobile insurers using his name and the names of the Lloyd Entity Defendants.

       6.      The fraudulent scheme had its origin with Grody who recruited Lloyd, a licensed

psychologist, and in exchange for compensation or some other form of financial remuneration,

permitted the Management Defendants to use Lloyd’s name, professional license, and the Lloyd

Entity Defendants as vehicles to submit fraudulent claims seeking payment for no-fault

reimbursement to New York automobile insurers, including GEICO. Through the arrangement

with the Management Defendants, Lloyd agreed to be a “nominal” owner of the Lloyd Entity

Defendants, and Lloyd’s nominal ownership served to conceal the true and unlawful ownership

and control of the Lloyd Entity Defendants by unlicensed laypersons – including the Management

Defendants – in violation of New York law.

       7.     The Management Defendants seized on Lloyd’s willingness to be the nominal

owner of the Lloyd Entity Defendants by concocting a fraudulent treatment and billing scheme

pursuant to which:

              (i)     The Management Defendants, along with the John Doe Defendants,
                      participated in illegal referral and kickback arrangements to gain access to
                      patients at more than fifteen (15) multidisciplinary “clinics” located
                      throughout the New York metropolitan area that purported to provide
                      treatment to patients with no-fault insurance, but which in actuality were




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                       organized to supply convenient, one-stop shops for no-fault insurance
                       fraud (the “Clinics”);

               (ii)    The Management Defendants arranged to have unlicensed “social
                       workers”, who were never employed by the Lloyd Entity Defendants,
                       render the Fraudulent Services at the various Clinics pursuant to a
                       predetermined protocol designed to maximize billing for the Fraudulent
                       Services;

               (iii)   the reports, documents, and bills for thousands of dollars per patient per
                       date of treatment would be sent to New York automobile insurance
                       companies, including GEICO, seeking payment for the performance of the
                       Fraudulent Services;

               (iv)    the billing for the Fraudulent Services would be “funded” through
                       companies, including Financial Vision, in a manner designed to finance
                       the scheme’s operation and for the Management Defendants to profit from
                       the fraudulent scheme; and

               (v)     funding companies, including Financial Vision, would pay “advances” to
                       accounts controlled by the Management Defendants as against the account
                       receivables associated with the Fraudulent Services, which effectively
                       provided the Financial Vision (and other funding companies) with
                       ownership and control over the assets of the Lloyd Entity Defendants, all
                       post-services activities, and all associated assets (i.e. the claims for
                       Fraudulent Services submitted to automobile insurers, including GEICO),
                       including the collection of the payments made on the claims for
                       Fraudulent Services.

       8.      The success of the fraudulent scheme required Lloyd’s participation, and

therefore, Grody convinced Lloyd to provide, among other things, his signature and medical

license, as well as the Lloyd Entity Defendants’ names and tax identification numbers (“TIN”).

Based on the arrangement, Lloyd would receive a periodic payment in exchange for: (i) allowing

his name, license, signature, and the tax identification numbers of the Lloyd Entity Defendants to

be used; and (ii) “reviewing” occasional records provided to him by unlicensed “social workers”

who worked for Grody. Through this agreement, Lloyd ceded all control of the Lloyd Entity

Defendants to the Management Defendants, and to the extent that Lloyd “reviewed” any of the

records provided by the social workers, he essentially “rubber stamped” them.




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       9.       Once Grody obtained the information from Lloyd, the Management Defendants

had the information they needed to unlawfully operate, manage and control the Lloyd Entity

Defendants and use them as vehicles for submitting bills for the Fraudulent Services to GEICO

and other New York automobile insurers.

       10.     To finance and profit from the fraudulent scheme, the Management Defendants

devised and implemented a series of financial arrangements between Lloyd and various funding

companies, including Financial Vision, Ravo Capital LLC, Funding4Doctors LLC, and Plutus

Global, Inc. (collectively, the “Funders”), to create false funding arrangements purportedly

between the Funders and the Lloyd Entity Defendants. The false funding arrangements included

unsigned or fraudulently signed funding agreements and payment directives to permit the

Funders to collect the proceeds from insurance companies.

       11.     The Funders were perfect partners for the Management Defendants in terms of

financing the fraudulent scheme against GEICO and the New York automobile insurance

industry because: (i) they were willing to engage in financial transactions to accounts controlled

by the Management Defendants without any contact or interaction with Lloyd; and (ii) they

could charge exorbitant fees on the monies that they would be advancing as a “premium” for

their role and participation as well as their willingness to provide advances at the Management

Defendants’ direction.

       12.     In furtherance of the fraudulent scheme, the Management Defendants and the

Funders, including Financial Vision, partnered with New York based collection law firms (the

“Collection Lawyers”) that agreed to:

               (i)       provide legal representation to Lloyd and the Lloyd Entity Defendants;




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               (ii)    work with the Funders and Management Defendants to arrange for
                       funding of the fraudulent billing to be submitted to GEICO and other New
                       York insurers in connection with the unlawful scheme;

               (iii)   pursue payment and collection against GEICO and other New York
                       automobile insurers by (a) knowingly submitting fraudulent bills to the
                       insurers for the Fraudulent Services and (b) pursing collection lawsuits
                       and/or arbitrations seeking payment on the claims that were denied or
                       claimed to have been improperly paid as needed; and

               (iv)    accept the insurance payments received from automobile insurers through
                       their attorney IOLA/Trust accounts, and then distribute the payments to
                       the Funders.

       13.     The Management Defendants had ongoing relationships with the Collection

Lawyers and knew what information would be needed to facilitate the funding, the billing and

collections on the fraudulent claims, and profit from the fraudulent scheme.

       14.     A New York City based law firm (hereinafter the “FV Law Firm”) was the

primary law firm among the Collection Lawyers with whom the Management Defendants and

Financial Vision were intimately familiar. In addition to purporting to represent Lloyd and the

SLSP, the FV Law Firm at all times acted as legal counsel for Financial Vision. Moreover, at the

time, several current and former partners of the FV Law Firm held an ownership interest in

Financial Vision.

       15.     Once the funding and legal relationships were in place, the Management

Defendants, Financial Vision, other Funders, and the John Doe Defendants used Lloyd’s license,

the Lloyd Entity Defendants, and Lloyd’s signature to: (i) generate false and fraudulent

documents, including assignment of benefit (“AOB”) forms and psychological records, to enable

them to submit fraudulent no-fault insurance claims to GEICO and other insurers; and (ii)

operate the Lloyd Entity Defendants as a billing vehicle through which millions of dollars of




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billing for the Fraudulent Services could be submitted to and collected from GEICO and other

New York automobile insurers.

       16.    As part of the fraudulent scheme, the Management Defendants provided packages

of documents, including fraudulent AOBs and psychological records, to the Collection Lawyers.

Once these documents were processed by the Collection Lawyers and/or billing companies with

whom they associated, into bills (i.e., “NF-3” forms) using the name of the Lloyd Entity

Defendants, the Collection Lawyers organized the claim submissions and mailed them to GEICO

and other insurance companies seeking payment.

       17.    By way of illustration of the Collection Lawyers actions taken on behalf of the

Management Defendants and Funders to further the Fraudulent Scheme, the FV Law Firm,

purportedly on behalf of Lloyd and the SLSP:

              (i)     Acted on their behalf knowing that they had not communicated with Lloyd
                      and only received instructions from the Management Defendants;

              (ii)    Acted on their behalf knowing that Lloyd had not provided any oral or
                      written agreement for the FV Law Firm to engage any of the above-
                      described services;

              (iii)   Acted on their behalf knowing that Lloyd had not waived the conflicts by
                      the FV Law Firm representing both Financial Vision – as a funding
                      company – and the SLSP – an entity that received funding by Financial
                      Vision;

              (iv)    submitted fraudulent bills generated with the fabricated documents, to
                      GEICO and other automobile insurers falsely claiming that the Fraudulent
                      Services were performed by Lloyd and the SLSP;

              (v)     systemically pursued payment and collection against GEICO and other
                      New York automobile insurers on behalf of Lloyd and the SLSP, when the
                      SLSP were illegally owned and controlled by the Management Defendants,
                      not Lloyd; and

              (vi)    collected insurance payments from GEICO and other New York
                      automobile insurers and deposited the payments into their IOLA/Attorney
                      Trust Account without any authority from Lloyd to collect and as part of a




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                      conscious effort to conceal the dissipation of the insurance proceeds
                      realized from the scheme to the Funders and to themselves.

       18.    Once the FV Law Firm started submitting the fraudulent bills to GEICO and other

automobile insurers, purportedly on behalf of Lloyd and the SLSP, the law firm at the direction

of the Management Defendants would prepare the claim submissions to be funded by Financial

Vision. Thereafter, the funding advances would be paid by through the FV Law Firm’s

IOLA/Attorney Trust Account – on behalf of Financial Vision – to accounts controlled by the

Management Defendants.

       19.    To maximize the amount of money that the Management Defendants could profit

from the fraudulent scheme through the Lloyd Entity Defendants, all of the fraudulent billing

submitted to GEICO and other automobile insurers were funded, and the advances were paid to

bank accounts that were solely controlled by the Management Defendants.

       20.    As set forth herein, the Defendants, at all relevant times, have known that:

              (i)     the Lloyd Entity Defendants were not in compliance with all material laws
                      and regulations governing healthcare practices and/or licensing laws as
                      they were at all relevant times operated, managed, and controlled by the
                      Management Defendants, John Doe Defendants, and the Funders, and, as a
                      result, were not eligible to receive no-fault reimbursement in the first
                      instance;

              (ii)    the Fraudulent Services were provided, to the extent provided at all,
                      pursuant to the dictates of the Management Defendants – unlicensed
                      laypersons – and were not in compliance with all significant laws and
                      regulations governing healthcare practice and/or licensing laws and,
                      therefore, were not eligible for no-fault reimbursement in the first
                      instance;

              (iii)   the Fraudulent Services were not medically necessary and were provided,
                      to the extent provided at all, pursuant to pre-determined fraudulent
                      protocols designed solely to financially enrich the Defendants, rather than
                      to treat or otherwise benefit the Insureds who purportedly were subjected
                      to them;




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                (iv)   the claim submissions seeking payment for the Fraudulent Services
                       misrepresented and exaggerated the level of services that purportedly were
                       provided to inflate the charges submitted to GEICO; and

                (v)    the Fraudulent Services were provided, to the extent provided at all, by
                       unlicensed “social workers” who were not under the supervision of any
                       licensed individual in contravention of New York law and were never
                       employed by the Lloyd Entity Defendants.

        21.     Defendants do not now have and have never been eligible to be compensated for

 the bills they submitted to GEICO through the Lloyd Entity Defendants.

        22.     The charts annexed hereto as Exhibits “1” and “2” set forth a representative

 sample of the fraudulent claims that the Defendants have submitted, or caused to be submitted,

 through the Lloyd Entity Defendants to GEICO using the United States mails.

        23.     Defendants’ fraudulent scheme began no later than 2019 and has continued

 uninterrupted since that time as the Defendants continue to pursue collection against GEICO on

 the Fraudulent Services through the prosecution of lawsuits and arbitrations.

        24.     As a result of the Defendants’ fraudulent scheme, GEICO has incurred damages

 of more than $520,000.00.

                                         THE PARTIES

 I.     Plaintiffs

        25.     Plaintiffs Government Employees Insurance Company, GEICO Indemnity

 Company, GEICO General Insurance Company, and GEICO Casualty Company are Nebraska

 corporations with their principal places of business in Chevy Chase, Maryland. GEICO is

 authorized to conduct business and to issue automobile insurance policies in New York.

 II.    Defendants

        26.     Defendant Tristate is a New York psychology services professional corporation

 with its principal place of business in New York. Tristate was incorporated in New York on or




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 about February 2, 2019, was purportedly owned and controlled by Lloyd, and was used as a

 vehicle to submit fraudulent billing to insurance companies, including GEICO.

        27.     Defendant SLSP is an unincorporated psychology practice with its principal place

 of business in New York. SLSP commenced operations on or about January 25, 2021, was

 purportedly owned and controlled by Lloyd, and was used as a vehicle to submit fraudulent

 billing to insurance companies, including GEICO.

        28.     Defendant Lloyd resides in and is a citizen of New York. At all relevant times,

 Lloyd was a registered clinical psychologist who purported to provide, or directly supervise,

 virtually all the Fraudulent Services that were billed to GEICO through the Lloyd Entity

 Defendants.

        29.     Defendant Grody resides in and is a citizen of New York. Grody is not a licensed

 healthcare professional.

        30.     Grody is no stranger to fraudulent insurance schemes. Grody holds himself out to

 the public to be a licensed clinical psychologist. In fact, Grody is a convicted felon who is not

 licensed to practice psychology or any other profession in the State of New York. Grody is

 uniquely familiar with how to manipulate New York’s no-fault system to defraud insurance

 companies out of money for the financial benefit of himself and those with whom he associates.

        31.     More specifically, in 2002, Grody was indicted in the Eastern District of New

 York and ultimately pleaded guilty in 2003 to three (3) separate counts in connection with a

 previous insurance fraud scheme, which resulted in him: (i) being imprisoned for more than a

 year and serving a supervised release for a period of three years; and (ii) paying restitution to

 Allstate Insurance Company of more than $280,000.00. Grody’s federal imprisonment did not

 have the intended deterrent effect as, shortly after he was released, he became involved in a




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 series of fraudulent insurance schemes that resulted in at least four (4) major automobile

 insurance companies filing a series of civil recovery actions against him and various others, with

 more than $10 million in judgments ultimately being entered against him. Upon information and

 belief, those judgments remain unsatisfied to date, and Grody remains incapable of openly

 operating within the healthcare industry or engaging in any legitimate activity, thereby

 contributing to his motive to engage in the furtive, fraudulent, and unlawful conduct described

 herein.

           32.   More recently, Grody has been involved in multiple No-Fault insurance fraud

 schemes throughout 2021 and 2021 that are virtually identical to the allegations in this

 Complaint. Grody – and his various accomplices – have been named as Defendants in various

 lawsuits filed within the Eastern District of New York that – similar to this action – involve

 recruiting a healthcare provider and using his/her name, professional license, and healthcare

 practice/sole proprietorship to fraudulently bill GEICO for No-Fault services that were never

 provided by the healthcare provider. See e.g. Gov’t Emps. Ins. Co. et al. v. Grody et al., 1:22-cv-

 03598-BMC; Gov't Emps. Ins. Co. et al. v. Tenenbaum et al., 1:22-cv-04543-ARR-PK (the

 “Tenenbaum Action”); Gov’t Emps. Ins. Co. et al. v. Stallings, et al., 1:22-cv-06306-DG-RML

 (the “Stallings Action”); Gov't Emps. Ins. Co. et al. v. Grody et al., 1:22-cv-068187-RER-PK;

 Gov’t Emps. Ins. Co. et al. v. Bily-Linder et al., 1:23-cv-00515-FB-RML (the “Bily-Linder

 Action”); Gov't Emps. Ins. Co. et al. v. Puzaitzer et al., 1:23-cv-074565-DLI-VMS (the

 “Puzaitzer Action”); Gov’t Emps. Ins. Co et al. v. Stoyanovsky, et al., 1:24-cv-01017-PKC-

 JAM; Gov’t Emps. Ins. Co. et al. v. Grody et al., 1:24-cv-04125-FB-MMH.




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        33.     Defendant N. Tariverdiev resides in and is a citizen of New York. N. Tariverdiev

 is not a licensed healthcare professional. N. Tariverdiev is also the son of Defendant K.

 Tariverdiev.

        34.     Defendant K. Tariverdiev resides in and is a citizen of New York. K. Tariverdiev

 is not a licensed healthcare professional.

        35.     Defendant Stoyanovsky resides in and is a citizen of New York. Stoyanovsky is

 not a licensed healthcare professional.

        36.     Stoyanovsky is no stranger to no-fault insurance schemes. In 2005, Stoyanovsky

 and his sham company, LVL Business Group, Inc., were named as defendants in a lawsuit

 alleging, among other things, that Stoyanovsky conspired with other individuals and sham

 companies to steal millions of dollars through New York’s no-fault system by: (i) laundering

 millions of dollars through various entities Stoyanovsky and others controlled; (ii) illegally

 owning and controlling several healthcare professional corporations; and (iii) submitting

 fraudulent diagnostic testing reports through these illegally owned and controlled healthcare

 professional corporations to insurance companies for reimbursement. See Allstate Insurance

 Company et al. v. Batsiyan et al., 1:05-cv-05933-SJ-VVP (E.D.N.Y. 2005). Stoyanovsky is also

 reported to have pleaded guilty to Scheme to Defraud in the Second Degree, a Class A

 Misdemeanor, in connection with his involvement in a massive scheme, and along with his

 companies, Physician Transcribing Inc. and LVL Business Group, Inc. were ordered to pay

 restitution in the amount of over $2.6 million in connection with a criminal case filed by the

 Kings County District Attorney’s Office.

        37.     More recently, Stoyanovsky has been named as a defendant – along with Grody –

 in another lawsuit filed in the Eastern District of New York that relates to No-Fault insurance




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 schemes involving recruiting a healthcare provider and using his name, professional license, and

 healthcare practice to fraudulently bill GEICO for No-Fault services that were never provided by

 the healthcare provider. See Gov’t Emps. Ins. Co et al. v. Stoyanovsky, et al., 1:24-cv-01017-

 PKC-JAM.

        38.     Defendant Khavko resides in and is a citizen of New York. Khavko is not a

 licensed healthcare professional.

        39.     Khavko is also no stranger to no-fault insurance schemes. Khavko has also been

 long associated with the management of schemes involving fraudulent no-fault claims and has

 been sued by GEICO for his involvement in similar schemes. See e.g. Gov’t Emps. Ins. Co. et al.

 v. Khavko et al., 1:11-cv-05781-JRR-JO.

        40.     Defendant Islamov resides in and is a citizen of New York. Islamov is not a

 licensed healthcare professional.

        41.     Defendant Pakoys resides in and is a citizen of New York. Pakoys is not a

 licensed healthcare professional.

        42.     Defendant Financial Vision is a Delaware limited liability company that was

 formed on or about August 8, 2018, with its principal place of business at 506 Hamburg

 Turnpike, Ste 204A, Wayne, New Jersey. Financial Vision was originally formed under the

 name of “ADF Equities, LLC”. On September 26, 2018, a certificate of amendment was filed

 with the Secretary of State of the State of Delaware and the entity’s name was changed from

 ADF Equities, LLC to Financial Vision. All the members of Financial Vision are residents of

 New York and/or New Jersey.

        43.     Financial Vision is no stranger to fraudulent No-Fault insurance schemes.

 Financial Vision has been named as a defendant in a separate lawsuit filed in the Eastern District




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 of New York that relate to No-Fault insurance schemes involving illegal control and ownership

 of medical practices that were used to bill GEICO and other automobile insurers for excessive

 and medically unnecessary healthcare services performed at Clinics. See Gov't Emps. Ins. Co. et

 al. v. Harbor Medical Group, P.C., et al., 2:23-cv-09038-NCM-AYS.

        44.     The John Doe Defendants are citizens of New York. The John Doe Defendants

 are unlicensed, non-professional individuals and entities, presently not identifiable to GEICO,

 who knowingly participated in the fraudulent scheme with Grody, Lloyd, and the Lloyd Entity

 Defendants and derived financial benefit from the fraudulent scheme.

                                  JURISDICTION AND VENUE

        45.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

 §1332(a)(1) because the matter in controversy exceeds the sum or value of $75,000.00, exclusive

 of interest and costs, and is between citizens of different states.

        46.      This Court also has original jurisdiction pursuant to 28 U.S.C. § 1331 over claims

 brought under 18 U.S.C. §§ 1961 et seq. (the Racketeer Influenced and Corrupt Organizations

 (“RICO”) Act). In addition, this Court has supplemental jurisdiction over the subject matter of

 the claims asserted in this action pursuant to 28 U.S.C. § 1367.

        47.     Venue in this District is appropriate pursuant to 28 U.S.C. § 1391, as the Eastern

 District of New York is the district where one or more of the Defendants reside and a substantial

 amount of the activities forming the basis of the Complaint occurred.

                         ALLEGATIONS COMMON TO ALL CLAIMS

        48.     GEICO underwrites automobile insurance in New York.

 I.     An Overview of the Pertinent Law Governing No-Fault Reimbursement




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        49.     New York’s no-fault laws are designed to ensure that injured victims of motor

 vehicle accidents have an efficient mechanism to pay for and receive the health care services that

 they need. Under New York’s Comprehensive Motor Vehicle Insurance Reparations Act (N.Y.

 Ins. Law §§ 5101, et seq.) and the regulations promulgated pursuant thereto (11 N.Y.C.R.R. §§

 65, et seq.) (collectively referred to as the “No-Fault Laws”), automobile insurers are required to

 provide Personal Injury Protection Benefits (“No-Fault Benefits”) to Insureds.

        50.     No-Fault Benefits include up to $50,000.00 per Insured for necessary expenses

 incurred for health care goods and services, including medical services.

        51.     An Insured can assign his/her right to No-Fault Benefits to health care goods and

 services providers in exchange for those services.

        52.     Pursuant to a duly executed assignment, a health care provider may submit claims

 directly to an insurance company and receive payment for medically necessary services, using

 the claim form required by the New York State Department of Insurance (known as “Verification

 of Treatment by Attending Physician or Other Provider of Health Service” or, more commonly,

 as an “NF-3”). In the alternative, a health care provider may submit claims using the Health

 Care Financing Administration insurance claim form (known as the “HCFA-1500 form”).

        53.     Pursuant to the No-Fault Laws, professional corporations are not eligible to bill

 for or to collect No-Fault Benefits if they fail to meet any New York State or local licensing

 requirements necessary to provide the underlying services.

        54.     The implementing regulation adopted by the Superintendent of Insurance, 11

 N.Y.C.R.R. § 65-3.16(a)(12) states, in pertinent part, as follows:

                A provider of health care services is not eligible for reimbursement under section
                5102(a)(1) of the Insurance Law if the provider fails to meet any applicable New
                York State or local licensing requirement necessary to perform such service in New
                York …. (Emphasis added).




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        55.     In New York, only a licensed psychologist may: (i) practice psychology; (ii) own

 or control a psychology practice; (iii) employ and supervise other psychologists; and (iv) absent

 statutory exceptions not applicable in this case, derive economic benefit from psychologist

 services.

        56.     Unlicensed non-psychologists may not: (i) practice psychology; (ii) own or

 control a psychology professional corporation; (iii) employ and supervise other psychologists; or

 (iv) absent statutory exceptions not applicable in this case, derive economic benefit from

 psychologist services.

        57.     New York law prohibits licensed healthcare services providers, including

 psychologists, from paying or accepting kickbacks in exchange for patient referrals. See, e.g.,

 New York Education Law §§ 6509-a; 6530(18); and 6531.

        58.     New York law prohibits unlicensed persons not authorized to practice a profession,

 like psychology, from practicing the profession and from sharing in the fees for professional

 services. See, e.g., New York Education Law § 6512, § 6530(11), and (19).

        59.     Therefore, under the No-Fault Laws, a health care provider is not eligible to receive

 No-Fault Benefits if it is fraudulently licensed, if it pays or receives unlawful kickbacks in

 exchange for patient referrals, if it permits unlicensed laypersons to control or dictate the

 treatments, or it allows unlicensed laypersons to share in the fees for the professional services.

        60.     In State Farm Mut. Auto. Ins. Co. v. Mallela, 4 N.Y.3d 313, 320 (2005) and

 Andrew Carothers, M.D., P.C. v. Progressive Ins. Co., 33 N.Y.3d 389 (2019), the New York Court

 of Appeals made clear that (i) healthcare providers that fail to comply with material licensing

 requirements are ineligible to collect No-Fault Benefits, (ii) only licensed practitioners may

 practice their profession in New York because of the concern that unlicensed persons are not




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 bound by “ethical rules” that govern the quality of care; and (iii) insurers may look beyond a

 facially-valid license to determine whether there was a failure to abide by state and local law.

         61.     Pursuant to the No-Fault Laws, only health care providers in possession of a direct

 assignment of benefits are entitled to bill for and collect No-Fault Benefits. There is both a

 statutory and regulatory prohibition against payment of No-Fault Benefits to anyone other than the

 patient or his/her health care provider. The implementing regulation adopted by the Superintendent

 of Insurance, 11 N.Y.C.R.R. § 65-3.11, states – in pertinent part – as follows:

                 An insurer shall pay benefits for any element of loss … directly to the applicant or
                 ... upon assignment by the applicant ... shall pay benefits directly to providers of
                 health care services as covered under section five thousand one hundred two (a)(1)
                 of the Insurance Law …

         62.     Accordingly, for a health care provider to be eligible to bill for and to collect

 charges from an insurer for health care services pursuant to Insurance Law § 5102(a), it must be

 the actual provider of the services. Under the No-Fault Laws, a professional corporation is not

 eligible to bill for services, or to collect for those services from an insurer, where the services were

 rendered by persons who were not employees of the professional corporation, such as independent

 contractors.

         63.     In New York, claims for No-Fault Benefits are governed by the New York

 Workers’ Compensation Fee Schedule (the “NY Fee Schedule”).

         64.     When a healthcare services provider submits a claim for No-Fault Benefits using

 the current procedural terminology (“CPT”) codes set forth in the NY Fee Schedule, it represents

 that: (i) the service described by the specific CPT code that is used was performed in a competent

 manner in accordance with applicable laws and regulations; (ii) the service described by the

 specific CPT code that is used was reasonable and medically necessary; and (iii) the service and

 the attendant fee were not excessive.




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        65.     Pursuant to New York Insurance Law § 403, the NF-3s and HCFA-1500 forms

 submitted by a health care provider to GEICO, and to all other automobile insurers, must be

 verified by the health care provider subject to the following warning:

                Any person who knowingly and with intent to defraud any insurance company or
                other person files an application for insurance or statement of claim containing any
                materially false information, or conceals for the purpose of misleading, information
                concerning any fact material thereto, commits a fraudulent insurance act, which is a
                crime.

 II.    The Defendants’ Fraudulent Scheme

        A.      The Origin of the Defendants’ Fraudulent Scheme and its Components

        66.     Lloyd is a psychologist who became licensed in New York in 2015.

        67.     Shortly after becoming licensed, Grody recruited Lloyd to participate in a

 complex insurance fraud scheme to bill GEICO and other New York automobile insurers for

 purported psychological services provided by unlicensed “social workers”. Based on the

 arrangement between Grody and Lloyd, in exchange for a periodic payment, Lloyd would (i)

 provide Grody with a psychological practice that Grody could use to bill for purported

 psychology services performed by unlicensed “social workers” on patients that Grody got access

 to at various Clinics, and (ii) occasionally review reports from the social workers. In addition to

 overseeing the “social workers” and gaining access to patients, Lloyd willingly agreed to give

 Grody control of the financial operations of the Lloyd’s psychological practice.

        68.     Lloyd was a perfect candidate for this scheme because he was a newly licensed

 psychologist actively seeking work.

        69.     Based on this arrangement, Grody – with the assistance of several John Doe

 Defendants – used Lloyd’s name, license, signature, and the tax identification number of a

 healthcare practice entitled Lloyd Psychological Services, PLLC (“LPS”), to bill for the




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 Fraudulent Services performed by unlicensed “social workers” through LPS. The arrangement

 between Grody and Lloyd, and the use of the LPS as a billing vehicle for Fraudulent Services

 took place between 2015 and 2019.

        70.     In 2019, Lloyd incorporated Tristate and Grody and Lloyd agreed to change the

 billing for Fraudulent Services from LPS to Tristate. The operations of Tristate were ostensibly

 the same as with LPS. In exchange for periodic payment from Grody, Lloyd agreed to permit

 Grody – and the John Doe Defendants – to use Lloyd’s name, license, signature, and Tristate to

 bill for the Fraudulent Services performed by unlicensed “social workers” – to the extent

 performed at all – and would occasionally review the “social workers’” reports.

        71.     Similar to the agreement with LPS, Lloyd willingly agreed to give Grody control

 of the financial operations of Tristate by providing Grody with access to Tristate’s bank and with

 pre-signed blank checks.

        72.     In a “quick hit” fashion, Grody – in association with Lloyd and the John Doe

 Defendants – submitted billing for the Fraudulent Services through Tristate from May 2019 to

 July 2019 and from May 2020 to September 2020.

        73.     Through the fraudulent scheme through Tristate, Grody, Lloyd, and the John Doe

 Defendants, were able to profit from the fraudulent billing to GEICO for unnecessary, illusory,

 and otherwise non-reimbursable psychology services.

        74.     Shortly after the Defendants stopped billing GEICO through Tristate, Grody

 introduced Lloyd to N. Tariverdiev, with whom they discussed continuing the operations of

 Tristate but through a new psychological entity, the SLSP.

        75.     At the time of Grody’s introduction by Lloyd to N. Tariverdiev, Grody and N.

 Tariverdiev had already been working with K. Tariverdiev, Stoyanovsky, Khavko, Islamov, and




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 Pakoys to unlawfully own and control other healthcare providers and use those healthcare

 providers as a vehicle to submit fraudulent bills to GEICO and other New York automobile

 insurers.

        76.     For example, the Management Defendants had conducted schemes, similar to the

 one they planned through SLSP, with other psychology providers, including the practices that

 were the subject of the Stallings Action as well as the action entitled, Gov’t Emps. Ins. Co. et al.

 v. Karin Gepp, Ph.D. (A Sole Proprietorship), et al., 1:22-cv-02860-ARR-MMH (the “Gepp

 Action”).

        77.     Lloyd had agreed, just like he had with Tristate and LPS and in exchange for

 periodic payments, to permit the Management Defendants to use Lloyd’s name, license,

 signature, and the SLSP to bill GEICO (and other automobile insurers) for the Fraudulent

 Services performed by unlicensed “social workers” – to the extent performed at all.

        78.     Similar to Tristate, the Management Defendants – in association with Lloyd and

 the John Doe Defendants – submitted billing to GEICO in a “quick hit” fashion for the

 Fraudulent Services through SLSP from January 2021 to July 2021.

        79.     Also similar to the agreement with Tristate, Lloyd willingly agreed to give Grody

 control of the financial operations of SLSP by transferring all funds purportedly for the benefit of

 the SLSP to Tristate’s bank account, which Grody controlled through pre-signed blank checks

 and access to the account (the “Tristate Account”).

        80.     Through the arrangements with the Management Defendants, Lloyd, who, in

 exchange for periodic payments, willingly permitted the Management Defendants to unlawfully

 use of Lloyd’s name and professional license. As a result, the Defendants were able to bill




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 GEICO more than $1,284,000.00 for unnecessary, illusory, and otherwise non-reimbursable

 psychology services.

        81.     However, the Lloyd Entity Defendants have never had any legitimate indicia. They

 had no fixed treatment locations of any kind, did not maintain stand-alone practices, were not the

 owners or leaseholders in any of the real property from which they purported to provide the

 Fraudulent Services, did not employ their own support staff, and did not advertise or market their

 services to the general public.

        82.     In fact, at the time that Lloyd purported to provide all of the Fraudulent Services

 through the Lloyd Entity Defendants – as represented in the bills submitted to GEICO – Lloyd

 was actually working as employee of another psychological practice.

        B.      Management Defendants Illegal Operation and Control of the Lloyd Entity
                Defendants

        83.     Once Lloyd agreed to participate in the Fraudulent Scheme through each of the

 Lloyd Entity Defendants, the Management Defendants took multiple steps to unlawfully operate

 and control the Lloyd Entity Defendants and use the Lloyd Entity Defendants to bill automobile

 insurers, including GEICO, for the Fraudulent Services.

        84.     In exchange for a set payment, Lloyd ceded control of the Lloyd Entity

 Defendants to the Management Defendants. The Management Defendants working

 collaboratively with the John Doe Defendants, Funders and Collection Lawyers, exercised

 complete and unlawful control over all patient care as well as the financial and operational

 aspects of the Lloyd Entity Defendants.

        85.     Each of the Management Defendants had their own roles in operating the

 fraudulent schemes through the Lloyd Entity Defendants.




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        86.     For example, as it relates to Tristate, Grody worked with the John Doe

 Defendants to control all of the operations of Tristate, including hiring “social workers” to

 interact with the patients, gaining access to patients through illegal relationships with the Clinics,

 retaining the Collection Lawyers, overseeing the paperwork associated with the Fraudulent

 Services, making arrangements with the Funders to obtaining funding, and controlling the

 Tristate’s finances.

        87.     As it relates to SLSP, the control of the SLSP was more spread out among the

 Management Defendants. Each of the Management Defendants had (i) access to various Clinics

 that would be used for SLSP to gain access to patients, and (ii) had access to additional

 Collection Lawyers and Ravo Capital, who – to an extent significantly less than Financial Vision

 – provided funding for the fraudulent scheme. In addition:

                (i)     Stoyanovsky had access to Financial Vision, who would provide funding
                        for the fraudulent scheme, and the FV Lw Firm who would act as
                        Collection Lawyers. Stoyanovsky was one of the primary points-of contact
                        for the FV Law Firm when information was needed or when documents
                        required Lloyd’s signature.

                (ii)    K. Tariverdiev handled the finances of the fraudulent scheme through the
                        SLSP, including distributing monies that were received in cash to himself
                        and the other Management Defendants.

                (iii)   N. Tariverdiev and Islamov handled the day-to-day operations of the
                        fraudulent scheme including making sure all paperwork would be
                        submitted to the Collections Lawyers who would submit the bills to
                        GEICO, communicating with the Clinics and the unlicensed “social
                        workers” at the Clinics, communicating with the Collection Lawyers, and
                        acting as the liaison between the Clinics and the Collection Lawyers.

                (iv)    Khavko was in charge of the creating the claims submissions that were
                        used to submit the charges for Fraudulent Services to GEICO and other
                        New York automobile insurers.

                (v)     Grody oversaw and employed the unlicensed “social workers” who
                        appeared at the Clinics and purported to treat patients on behalf of the
                        SLSP, communicated with Lloyd, controlled the Tristate Account, and – at
                        the direction of N. Tariverdiev and Islamov – issued payments from the




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                       Tristate Account for funds that were purportedly for the benefit of the
                       SLSP.

        88.     In keeping with the fact that Grody – as an unlicensed layperson – illegally

 exercised control over the Lloyd Entity Defendants, Grody – through three separate shell

 companies that he owns – received 48 separate payments, totaling over $270,000.00, from the

 Tristate Account between July 2019 and July 2021.

        89.     In further keeping with the fact that Grody illegally exercised control over the

 Lloyd Entity Defendants, Grody would obtain insurance company checks that were issued to

 Lloyd for bills relating to the SLSP and sent to one of the Collection Lawyers, and then deposit

 those funds into the Tristate Account.

        90.     For example:




        91.     In keeping with the fact that Pakoys – also an unlicensed layperson – illegally

 exercised control over the SLSP, Pakoys – through an entity he owns named Medpak Global

 Services, Inc. (“Medpak”) – received three (3) payments from the Tristate Account between




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 April 1, 2021 and August 10, 2021, totaling approximately $23,000.00. During the same time

 period, Medpak, which Pakoys has represented was a “consulting business”, also received

 payments from (i) the psychology practices in the Gepp Action and (ii) from one of Grody’s

 shell companies.

        92.    In keeping with the fact that Stoyanovsky and Khavko – both of whom were

 unlicensed laypersons – illegally exercised control over the SLSP, Stoyanovsky and Khavko

 communicated with the FV Law Firm regarding issues relating to the collection of No-Fault

 claims for the SLSP, agreements with the FV Law Firm and Financial Vision, and information

 regarding the funding advances purportedly issued on behalf of Financial Vision.

        93.    For example, on August 4, 2021, the FV Law Firm sent an email to Stoyanovsky

 and Khavko stating that there was a denial by GEICO due to a prior release agreement for LPS,

 and that the FV Law Firm needed information about whether the prior release impacted SLSP or

 was solely related to SLSP as this would impact the pending collections. In response,

 Stoyanovsky responded that the prior agreement was only for LPS. At no point did the FVLaw

 Firm, Stoyaovsky, or Khavko notify or communicate with Lloyd regarding this issue.

        94.    As an additional examples, on March 26, 2021, the FV Law FDirm emailed

 Stoyanovsky and asked for instructions on where to send funding advances, on behalf of

 Financial Vision, for the SLSP Claims, and on April 30, 2021, the FV Law Firm advised

 Stoyanovsky that two “batches” – i.e. groups of bills to insurance companies – were going to be

 Funded as it relates to the SLSP and other healthcare providers and advised the dollar value of

 funding advances to be issued on each “batch”.

        95.    In also keeping with the fact that Khavko illegally exercised control over the

 SLSP, Khavko received money paid by GEICO, and other automobile insurers, on some of the




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 claims submitted by the SLSP. Specifically, one of the Collection Lawyers received payments

 issued to the SLSP, deposited the money into their attorney IOLA/Trust account, and then issued

 payments to Plutus Global, Inc. (“Plutus Global”), which is owned by Khavko. The payments to

 Plutus Global were received without any written agreement or oral direction from Lloyd that

 permitted the Collection Lawyer, Plutus Global or Khavko to collect or receive such payments.

          96.   In keeping with the fact that N. Tariverdiev and Islamov – as an unlicensed

 layperson – illegally exercised control over the SLSP, N. Tariverdiev and Islamov frequently

 emailed the FV Law Firm, other Collection Lawyers, and unlicensed “social workers” on behalf

 of the SLSP using the email addresses of probiller2021@gmail.com and 2266office@gmail.com.

          97.   For example, N. Tariverdiev and Islamov communicated via email with the FV

 Law Firm regarding (i) the psychological paperwork to be submitted with the bills from the

 SLSP to New York automobile insurers, including GEICO, and (ii) claim-specific information

 that was missing and needed to be included on the No-Fault bills. N. Tariverdiev and Islamov

 also communicated via email with the unlicensed “social workers” working at the Clinics

 regarding the psychological records that would be used in the submission of No-Fault insurance

 bills.

          98.   Unlike the Management Defendants, Lloyd had essentially no involvement in

 operations of Lloyd Entity Defendants. Lloyd did not: (i) control the finances of the Lloyd Entity

 Defendants; (ii) visit any of the Clinics where the Lloyd Entity Defendants purportedly operated;

 (iii) actually meet or treat any of the Insureds; (iv) hire any staff for the Lloyd Entity Defendants;

 (v) enter into agreements for renting space where the Lloyd Entity Defendants purported to

 operate from; (vi) enter into any funding agreements for the Lloyd Entity Defendants; (vii) retain

 any of the Collection Lawyers on behalf of the Lloyd Entity Defendants; (viii) communicate with




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 any Collection Lawyers regarding the billing or finances of the Lloyd Entity Defendants; and (ix)

 sign any assignment of benefits (“AOB”) forms, medical records, or “superbills” that were

 included in the documentation supporting the bills submitted to GEICO.

        99.     In addition to knowingly providing the Management Defendants with his

 signature, license, and the information concerning the Lloyd Entity Defendants in exchange for

 regular payments, Lloyd’s involvement was limited to periodically reviewing electronic

 treatment reports.

        C.      The Illegal Kickbacks to Gain Access to Insureds

        100.    In addition to the recruitment of Lloyd and the unlicensed “social workers”, the

 success of the Defendants’ fraudulent scheme required the Management Defendants, with the

 assistance of the John Doe Defendants, to gain access to a large volume of Insureds to whom the

 unlicensed “social workers” could purport to provide the Fraudulent Services.

        101.    However, neither of the Lloyd Entity Defendants was set up to generate their own

 stand-alone patient base. Instead, the Management Defendants obtained access to Insureds for

 the Lloyd Entity Defendants and the unlicensed “social workers” through the payment of

 kickbacks or other financial incentives to the owners/operators of the Clinics and/or to other

 individuals associated with the Clinics.

        102.    In fact, the Management Defendants entered into unlawful referral agreements

 with the John Doe Defendants and controlled the fraudulent scheme by using the name of Lloyd

 and the Lloyd Entity Defendants on an itinerant basis in connection with the performance of the

 Fraudulent Services from more than fifteen (15) separate Clinics, where they were given access

 to steady volumes of patients pursuant to the unlawful referral arrangement, including the

 following:




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                                     CLINIC LOCATIONS
               14 No. Main Street                           Spring Valley      NY
               148-21 Jamaica Avenue                        Jamaica            NY
               2184 Flatbush Avenue                         Brooklyn           NY
               245 Rockaway Avenue                          Valley Stream      NY
               2488 Grand Concourse                         Bronx              NY
               320 Post Avenue                              Westbury           NY
               3250 Westchester Avenue                      Bronx              NY
               33-10 101st Street                           Flushing           NY
               332 East 149th Street                        Bronx              NY
               4041 Boston Road                             Bronx              NY
               55 East 115th Street                         New York           NY
               60 Belmont Avenue                            Brooklyn           NY
               6269 99th Street                             Queens             NY
               647 Bryant Avenue                            Bronx              NY
               90-16 Sutphin Boulevard                      Jamaica            NY

        103.    As a result of the illegal financial and kickback arrangements between the

 Management Defendants and the John Doe Defendants that controlled the Clinics, the

 Defendants were provided with access to patients that treated, or who purported to be treated, at

 the Clinics. Though ostensibly organized to provide a range of healthcare services to Insureds at

 a single location, the Clinics in actuality, were organized to supply “one-stop” shops for no-fault

 insurance fraud.

        104.    The Clinics provided facilities for the Lloyd Entity Defendants, as well as a

 “revolving door” of other psychology providers, healthcare services providers, chiropractic

 providers, physical therapy providers, and/or a multitude of other purported healthcare providers,

 all geared towards exploiting New York’s no-fault insurance system.

        105.    In fact, GEICO received billing from an ever-changing number of fraudulent

 healthcare providers at many of the Clinics, starting and stopping operations without any

 purchase or sale of a “practice”, without any legitimate transfer of patient care from one

 professional to another, and without any legitimate reason for the change in provider name




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 beyond circumventing insurance company investigations and continuing the fraudulent

 exploitation of New York’s no-fault insurance system.

        106.    At each of the Clinics, the John Doe Defendants, rather than any licensed healthcare

 professionals, developed and controlled the patient base. Clinics willingly provided patient access

 to the Lloyd Entity Defendants and the Management Defendants in exchange for kickbacks and

 other financial incentives because the Clinics were facilities that sought to profit from the

 “treatment” of individuals covered by no-fault insurance and, therefore, catered to a high volume

 of Insureds at the locations.

        107.    The Clinics were willing and able to provide the Lloyd Entity Defendants (and

 other healthcare providers) with access to a large amount of Insureds in exchange for kickbacks

 or other financial incentives because the John Doe Defendants who controlled the Clinics: (i)

 established and maintained multiple pipelines that funneled Insureds to their respective locations;

 and then (ii) entered into agreements with no-fault providers pursuant to which the Clinics

 provided access to their pools of Insureds in exchange for financial remuneration.

        108.    In general, the Clinics, or their representatives, were paid a sum of money by the

 Management Defendants. The payments were typically made to: (i) shell companies disguised as

 “transportation” or “marketing” or “rent”; or (ii) to fraudulent healthcare practices disguised as

 “rent”. In reality, the payments were kickbacks for referrals, and the relationships between the

 Lloyd Entity Defendants and the Clinics were “pay-to-play” arrangements.

        109.    In connection with these “pay-to-play” arrangements, when an Insured visited one

 of the Clinics, he or she was automatically referred by one of the Clinic’s representatives to one

 of the unlicensed “social workers” present at the facility for psychological evaluation and testing,




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 regardless of individual symptoms, presentation, or – in most cases – the total absence of any

 clinically significant psychological symptoms arising from any automobile accident.

        110.   The Clinic “representatives” typically making the referrals were receptionists or

 some other non-medical personnel who simply directed or “steered” the Insureds to one of the

 unlicensed “social workers” that was purporting to operate under one of several psychological

 practices that was given access to the Insureds on a given day pursuant to the unlawful kickback

 and referral arrangements.

        111.   In keeping with the fact that unlawful kickback and referral arrangements existed,

 the bank account associated with Tristate – that was controlled by Grody – made the following

 payments:

               •       The Tristate Account issued ten (10) checks to Alex Transportation Inc.
                       (“Alex Trans”) between March 31, 2021, and August 24, 2021, totaling
                       approximately $110,000.00. Despite paying such a large sum of money to
                       a purported “transportation”, Alex Trans is not an entity that is licensed by
                       New York City Taxi and Limousine Commission as a for-hire vehicle,
                       which is legally required before performing transportation services.

               •       The Tristate Account issued six (6) checks to Litardo Admin Inc.
                       (“Litardo”) between April 8, 2021, and June 23, 2021, totaling
                       approximately $50,000.00. At the time, Litardo purported to operate from
                       a homeless veterans temporary housing rehabilitation center in Glen
                       Gardener, New Jersey. Notably almost all of the money deposited into
                       Litardo’s account was quickly re-issued to various entities, including
                       payments to Alex Trans and a company called DRR Marketing Corp
                       (“DRR Marketing”), which purports to operate out of a residential
                       apartment in Great Neck, New York.

               •       The Tristate Account issued four (4) checks to Promo & Splash Inc.
                       (“Promo”) between April 1, 2021, and July 21, 2021, totaling
                       approximately $44,000.00, including a notation for “advertising”. Similar
                       to Litardo, a significant amount of the money deposited was quickly re-
                       issued to various entities, including payments to Alex Trans and DRR
                       Marketing.

        112.   The above are just representative samples of the payments made on behalf of the

 Lloyd Entity Defendants – at the direction of the Management Defendants – representing the



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 laundering of the funds and the unlawful kickback and referral arrangements with the Clinics,

 and their representatives.

           113.   The unlawful kickback and referral arrangements were essential to the success of

 the fraudulent scheme. The Defendants derived significant financial benefit from the

 relationships with the Clinics because without access to the Insureds, the Defendants would not

 have had the ability to execute the fraudulent treatment and billing protocol and bill GEICO and

 other New York automobile insurers.

           114.   The Defendants always knew that the kickbacks and referral arrangements were

 illegal and, therefore took affirmative steps to conceal the existence of the fraudulent referral

 scheme and the fraudulent billing.

           115.   As a result of this arrangement, the Defendants subjected Insureds at the Clinics to

 the Fraudulent Services despite there being no clinical basis for the services, had them undergo

 phony psychological evaluation and testing, all solely to maximize profits without regard to

 genuine patient care.

           116.   In keeping with the fact that the Clinics controlled the patient base and that the

 Lloyd Entity Defendants were simply two of several interchangeable “cogs” in the fraud wheel,

 the Lloyd Entity Defendants only operated for short periods of time and were part of a larger

 group of psychology practices that purported to treat Insureds through the same unlicensed

 “social workers” and at overlapping Clinic locations. For example, there are overlapping

 unlicensed “social workers” and Clinic locations between the Lloyd Entity Defendants and the

 psychology “practices” that are subject to the following actions: (i) the Stallings Action; (ii) the

 Gepp Action; (iii) the Bily-Linder Action; (iv) the Puzaitzer Action; and (v) the Tenenbaum

 Action.




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        D.      Placing the Fraudulent Scheme Into Motion

        117.    To be able to submit the large amounts of billing for the Fraudulent Services to

 New York automobile insurers, including GEICO, the Management Defendants needed to –

 among other things – recruit “workers” who would purport to perform the Fraudulent Services.

        118.    Grody recruited the largely unlicensed “social workers” to purport to perform the

 Fraudulent Services on behalf of the Lloyd Entity Defendants at the Clinics, in exchange for

 nominal payment. This was done, in part, by Grody conducting searches seeking the assistance

 of people who had recently graduated from school or who had practical experience but could not

 become licensed in New York for various reasons.

        119.    Once an unlicensed “social worker” was recruited, Grody would arrange to have

 that individual meet him at one of the Clinics. During the meeting, Grody would explain that the

 position required the individual to travel to various medical clinics to see people who had been in

 automobile accidents and to ask those people a series of questions and provide them with forms

 to complete.

        120.    Grody told the unlicensed “social workers” they would be paid a day rate for each

 day that they travelled to the medical clinics and that their work at the medical clinics would be

 supervised by a licensed psychologist. In fact, supervision by a licensed psychologist never

 happened. Rather, nearly all the people with whom the unlicensed “social workers” ever had

 contact at the medical clinics, outside of the patients themselves, worked for the Management

 Defendants and were not licensed psychologists.

        121.    When the “social workers” needed to communicate with anyone regarding the

 patients purportedly treated by the Lloyd Entity Defendants, they would communicate with

 Grody and/or N. Tariverdiev. In addition, when the “social workers” completed the patient




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 records that would be used as the basis to bill New York automobile insurers, including GEICO,

 they would send the records to Grody and/or N. Tariverdiev.

        122.    Unlike the unlicensed “social workers”, Lloyd never visited any of the Clinics and

 never saw any of the patients who were purportedly treated by the Lloyd Entity Defendants.

        123.    Once all of the necessary “pieces” were in place – i.e. the unlicensed “social

 workers” were hired, arrangements to access to Clinics and patients, all the necessary

 information and signature from Lloyd, and Lloyd ceded control of the Lloyd Entity Defendants

 to the Management Defendants – the fraudulent scheme was placed into overdrive. The

 Management Defendants and John Doe Defendants, working collaboratively with the unlicensed

 “social workers”, Funders, and Collection Lawyers, exercised complete control over all financial

 and operational aspects of the Lloyd Entity Defendants.

        124.    One aspect of the complete control over the Lloyd Entity Defendants involved the

 generation of treatment records that would be used to submit bills to automobile insurers,

 including GEICO. This involved Grody arranging to have the unlicensed “social workers” go to

 the Clinics to generate the necessary treatment reports for the unlawfully referred Insureds. Also

 included in this aspect of the scheme was the Management Defendants and the John Doe

 Defendants using Lloyd’s license number, signature, and the tax identification numbers

 associated with the respective Lloyd Entity Defendants to fabricate the claim documents

 necessary to support the fraudulent claim submissions to GEICO and other New York

 automobile insurers, including assignment of benefits (“AOBs”) forms and other medical

 records.




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        125.    Another aspect of complete control over the Lloyd Entity Defendants involved

 arranging to have the account receivables associated with the GEICO billings for the Fraudulent

 Services “funded” through the Funders, with the assistance of the Collection Lawyers.

        126.    The Collection Lawyers purported to represent Lloyd and the Lloyd Entity

 Defendants when, in reality, the Collections Lawyers were actually “retained” by the

 Management Defendants. Once retained, the Management Defendants began to provide the

 Collection Lawyers with the medical records, AOBs and claim-related documents containing

 Lloyd’s signature, when Lloyd never actually signed the documents or performed psychological

 services.

        127.    Using the fraudulent documents obtained from the Management Defendants, the

 Collection Lawyers generated bills (i.e., NF-3 forms), as well as cover letters in their name that

 accompanied the bills and other fraudulent documents (i.e. medical records and AOBs) and

 mailed them to GEICO and other New York automobile insurers using the United States mails.

        128.    At the same time, the Management Defendants, with the assistance of the

 Collection Lawyers, looked for Funders who they could “sell” the Lloyd Entity Defendants’

 receivables in exchange for immediate payment, referred to as funding advances.

        129.    Upon confirmation from the Collection Lawyers of a list of bills that were

 submitted to automobile insurers, including GEICO, the Funders would issue “advances”

 purportedly to the Lloyd Entity Defendants, but would ultimately be deposited into the Tristate

 Account that was controlled by Grody. The advances would then be used by the Management

 Defendants to directly profit from the fraudulent scheme and to continue operate the fraudulent

 scheme.




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           130.   Funders that essentially purchased the only assets belonging to the Lloyd Entity

 Defendants included Financial Vision, Ravo Capital LLC, Funding4Doctors LLC, and Plutus

 Global.

           131.   The Funders purchased the assets belonging to the Lloyd Entity Defendants

 without any signed agreement by Lloyd. Instead, the Funders purchased the Lloyd Entity

 Defendants’ receivables based upon agreements directly with the Management Defendants.

           132.   As a result of those efforts, the Management Defendants received hundreds of

 thousands in advances on the claims for the Fraudulent Services from the Funders without any

 risk, because they were never signatories to the agreements.

           133.   For example, as it relates to the SLSP, all of the funding advances were deposited

 into Lloyd’s personal account and then – at the direction of Grody – promptly transferred to the

 Tristate Account that was controlled by the Management Defendants.

           134.   A summary of the funding advances for the SLSP that were ultimately provided

 to the Tristate Account controlled by the Management Defendants is as follows:

  Funding             Funder              Advance        Date of Transfer to Amount Transfer
  Advance Date                            Amount         Tristate Account    to Tristate

  March 31, 2021      Financial Vision    $143,000.00    April 1, 2021          $143,000.00

  April 5, 2021       Financial Vision    $9,070.00      April 7, 2021          $9,070.00

  April 8, 2021       Financial Vision    $94,240.00     April 9, 2021          $94,240.00

  April 30, 2021      Financial Vision    $90,001.00     April 30, 2021         $90,000.00

  May 21, 2021        Ravo Capital        $48,813.00     May 14, 2021           $46,000.00

  June 2, 2021        Financial Vision    $50,000.00     June 3, 2021           $50,000.00

  June 18, 2021       Financial Vision    $55,837.00     June 21, 2021          $55,000.00

  June 22, 2021       Ravo Capital        $70,730.00     June 22, 2021          $70,000.00




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  June 25, 2021       Financial Vision   $77,105.88     June 28, 2021          $77,000.00

  July 19, 2021       Financial Vision   $58,202.00     July 19, 2021          $58,202.00

  August 4, 2021      Financial Vision   $50,263.11     August 6, 2021         $50,000.00

  August       19,
                      Financial Vision   $50,077.44     August 20, 2021        $50,000.00
  2021

                      TOTAL = $797,339.43               TOTAL = $792,512.00

        135.      By contrast to the Management Defendants, Lloyd only received a small fraction

 of the funding advances on the claims for Fraudulent Services through the Lloyd Entity

 Defendants.

        136.      As part of the arrangement between the Management Defendants, Collection

 Lawyers, and many of the Funders, including Financial Vision, the Funders would be paid from

 the Collection Lawyers once payments were received from insurance companies on the claims

 for Fraudulent Services.

        137.      The Collection Lawyers would deposit the money obtained from insurers on

 behalf of the Lloyd Entity Defendants into their Attorney/IOLA Account, and then issue

 payments to the Funders.

        138.      In some cases, the payments issued to Funders from the Collection Lawyers to the

 Funders based upon “payment directives” purportedly by Lloyd. However, such payment

 directives were either never signed, or contained a signature that was not signed by Lloyd’s. In

 the circumstance with the FV Law Firm and Financial Vision, the FV Law Firm made payments

 to Financial Vision without any agreement or written directive by Lloyd.

        E.        Financial Vision’s Knowing Participation in the Fraudulent Scheme

        139.      Financial Vision had no employees, only individuals who have a membership

 interest in the entity. Instead, all of the work performed by Financial Vision was either done by




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 the members specifically or by individuals employed by the FV Law Firm at the direction of

 certain partners of the law firm, that also had a membership interest in Financial Vision.

         140.    During the entire time that Financial Vision was purportedly involved with

 funding SLSP, neither Financial Vision nor anyone at the FV Law Firm on Financial Vision’s

 behalf ever spoke with Lloyd regarding the funding arrangements, funding advances, written

 agreements or other issues regarding funding the SLSP’s claims.

         141.    Instead, at all times, Financial Vision, through the FV Law Firm, only spoke with

 the Management Defendants regarding the funding of the SLSP.

         142.    Financial Vision knew that the funding arrangements between Financial Vision

 and the SLSP were a sham, and were solely a means to create the appearance that there were

 legitimate financing or factoring agreements associated with the account receivables when, in

 fact, the true purpose was to pay the Management Defendants up front to permit Financial Vision

 to essentially purchase the assets of the SLSP, thereby controlling the SLSP, and ensure that all

 monies paid by GEICO and other insurers as a result of the billing for the Fraudulent Services

 could be provided to Financial Vision, minus what they would need to pay the FV Law Firm.

         143.    Notably, the intent of Financial Vision was to use the funding agreement to fully

 control the assets of SLSP, as the agreement allowed Financial Vision to charge exorbitant

 interest rates against the “advances” that were to be made against the account receivables as a

 financial reward for funding the fraudulent scheme. Specifically, the funding agreement

 permitted Financial Vision to charge 150% of the amount of each advance made, in addition to

 recovering the full amount advanced. By reason of this arrangement, SLSP would never be

 entitled to collect or retain a single dollar.




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        144.    As additional evidence of Financial Vision’s intent to control the SLSP, the

 funding agreement also included other terms and conditions intended to allow Financial Vision

 to exercise complete control over all material financial, operational and legal aspects of the

 practices.

        145.    In reality, Financial Vision issued advances to the Management Defendants and

 collected the money issued to the SLSP by GEICO and other New York automobile insurers

 without any written agreement or other direct authority from Lloyd.

        146.    In keeping with the fact that Financial Vision issued advances and collected

 payments made by GEICO, and others, to the SLSP without any written or other direct authority

 from Lloyd, on March 26, 2021, a then-partner of the FV Law Firm and then-member of

 Financial Vision – issued an email advising, among others: (i) a paralegal at the FV Law Firm;

 (ii) Stoyanovsky and Khavko; and (iii) the managing partner of the FV Law Firm and also

 member of Financial Vision, that funding was issued for, among others, three batches of claims

 associated with the SLSP.

        147.    Thereafter, and also on March 26, 2021, the paralegal from the FV Law Firm sent

 an email to Stoyanovsky and another individual asking for wire instructions where to send the

 funding advance and advising that the funding agreement for Lloyd was not signed.

        148.     Though the funding agreement was not provided to the FV Law Firm, the wire

 instructions were provided, and a wire for the funding advance for the SLSP was issued using the

 FV Law Firm’s Attorney/IOLA account on March 31, 2021 to Lloyd’s personal bank account.

        149.    Without any agreement and without any specific direct authority by Lloyd, the FV

 Law Firm, on behalf of Financial Vision, continued to issue funding advances for the SLSP on

 various dates, including (i) April 5, 2021 and (ii) April 8, 2021.




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        150.   On April 19, 2021, well after the “advances” had been made, the paralegal at the

 FV Law Firm again emailed Stoyanovsky, Khavko, Islamov, and N. Tariverdiev, to advise that

 Lloyd needed to sign the following documents immediately: (i) the retainer agreement for the

 SLSP retaining the FV Law Firm as a collection lawyer; (ii) a conflict waiver for the SLSP

 waiving the conflict of the FV Law Firm representing both SLSP and Financial Vision; and (iii)

 the funding agreement between the SLSP and Financial Vision.

        151.   Notably, no one at the FV Law Firm directly contacted Lloyd to obtain signatures

 for these documents or to verbally confirm authority – by the FV Law Firm or Financial Vision –

 to act under the terms of the agreements until the documents were signed.

        152.   Despite the fact that the requested documents were not signed, the FV Law Firm,

 on behalf of Financial Vision, continued to issue funding advances for the SLSP, including an

 advance on April 30, 2021.

        153.   Once again, on May 4, 2021, Stoyanovsky was emailed by a partner from the FV

 Law Firm informing him that all of the documents for the SLSP were never signed and that they

 needed Lloyd to sign certain documents.

        154.   In fact, the documents were never signed, yet the FV Law Firm, on behalf of

 Financial Vision, continued to issue funding advances for the SLSP, including advances that

 were issued on June 2, 2021, June 18, 2021, June 25, 2021, and July 19, 2021.

        155.   On August 2, 2021, the paralegal at the FV Law Firm again emailed Stoyanovsky,

 Khavko, Islamov, and N. Tariverdiev, attached the three (3) documents that needed to be signed

 and requested that they be back dated to cover their tracks, stating, “Please have attached

 contracts signed by Scott Lloyd ASAP and date them for February 16, 2021.”




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        156.    The reason that the email requested that the contracts be back dated for February

 16, 2021 was because that is when the FV Law Firm and Financial Vision started to operate on

 behalf of the SLSP – with billing, collections, and financing – at the direction of the

 Management Defendants and without any authority by Lloyd.

        157.    On August 3, 2021, N. Tariverdiev forwarded the documents that required

 Lloyd’s signature to Grody, and Grody then forwarded the documents to Lloyd for signature.

        158.    However, Lloyd refused to sign the documents presented by the FV Law Firm and

 Financial Vision and told Grody via email on August 3, 2021, “This is a funding agreement to

 advance claims for me guaranteed by me personally giving you a blank check. This has resulted

 in default and lawsuits and stress. NO WAY.”

        159.    Despite Lloyd’s protest, the FV Law Firm, on behalf of Financial Vision, issued

 another funding advances for the SLSP on August 4, 2021. Later that same day, the paralegal at

 the FV Law Firm again emailed Stoyanovsky indicating that there were missing contracts for the

 SLSP and attaching a copy of the three documents that needed to be signed.

        160.    On August 9, 2021, the generic email address associated with the Management

 Defendants, 2266office@gmail.com, sent the paralegal at the FV Law Firm an email containing

 signed copies of all three agreements.

        161.    Notably, both the funding agreement and the FV Law Firm retainer were dated for

 March 1, 2021, despite being emailed on August 9, 2021, and contained the same stamped

 signature of Lloyd. Even more, the conflict waiver agreement, which also contained the same

 stamped signature, purports to have been notarized on February 16, 2021.

        162.    The following are copies of the signatures from the FV Law Firm and Financial

 Vision documents:




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        FV Law Firm Retainer                                   Funding Agreement




                               Conflict Waiver Signature & Notary




        163.    Despite the fact that Financial Vision – directly and through the FV Law Firm –

 were operating without any legitimately signed agreements, and first were provided with the

 agreement on August 9, 2021 (though they were forged), Financial Vision issued over

 $625,000.00 in funding advances to the SLSP.

        164.    Even more, during the time that Financial Vision operated without a funding

 agreement or other direct authority from Lloyd, the FV Law Firm collected over $150,000.00 in

 payments from GEICO that were issued to the SLSP, and almost all of those funds were then

 distributed to Financial Vision as part of their profits in the scheme.




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        F.      The Defendants’ Fraudulent Treatment and Billing Protocol

        165.    In addition to the unlawful control over the Lloyd Entity Defendants and the

 unlawful financial arrangements, and every Insured who was purportedly seen by the Lloyd

 Entity Defendants was subjected to predetermined and unnecessary psychological services.

        166.    Unlicensed “social workers” on behalf of the Lloyd Entity Defendants

 purportedly subjected Insureds to both a psychological diagnostic evaluation and a

 neurobehavioral status exam, as well as to other “psychological services” that were provided

 pursuant to a predetermined protocol.

        167.    At the conclusion of each Insured’s initial – and oftentimes only – visit with either

 of the Lloyd Entity Defendants, billing in the amount of either $1,576.14 or $2,490.50 was

 typically submitted or caused to be submitted by the Management Defendants, with the

 assistance of the Collection Lawyers, to GEICO, which represented that Lloyd performed all of

 the Fraudulent Services.

        168.    However, Lloyd never performed any of the Fraudulent Services that were billed

 to GEICO through either of the Lloyd Entity Defendants, and the only “services” that were

 performed were by unlicensed “social workers”.

                1.     The Fraudulent Psychiatric Diagnostic Evaluation Charges

        169.    Once an Insured was referred to an unlicensed “social worker” pursuant to the

 unlawful financial arrangements with the John Doe Defendants at the Clinics, the unlicensed

 “social worker” purported to conduct a psychiatric diagnostic evaluation of the Insured.

        170.    As set forth in Exhibits “1” and “2”, the Defendants then billed the psychiatric

 diagnostic evaluation to GEICO either through: (i) Tristate, under CPT code 90801, virtually




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 always resulting in a charge of $194.58; or (ii) SLSP, under CPT code 90791, virtually always

 resulting in a charge of $305.73.

        171.    The charges for the psychiatric diagnostic evaluations identified in Exhibits “1”

 and “2” were fraudulent in that, as set forth above, the psychiatric diagnostic evaluations were

 conducted, to the extent conducted at all, pursuant to the improper financial arrangements

 between the Defendants and the Clinics, and not pursuant to the documented and clinically

 reasonable needs of the Insureds.

        172.    In addition, the charges for the psychiatric diagnostic were fraudulent in that the

 psychiatric diagnostic evaluations were: (i) medically unnecessary; and (ii) never performed a

 legitimate manner in the first instance.

                           (i)   Basic, Legitimate Psychiatric Diagnostic Evaluations

        173.    A psychiatric diagnostic evaluation is an integrated assessment whereby a mental

 health practitioner elicits patient data and then uses that data to establish a diagnosis and to

 formulate an individualized treatment plan for that patient.

        174.    In a legitimate clinical setting, during a psychiatric diagnostic evaluation, the data

 necessary to establish a diagnosis and formulate an individualized treatment plan is primarily

 elicited through a thorough patient interview and mental status examination, and occasionally

 other sources, including a review of past medical records and/or reports from family members

 and significant others.

        175.    The patient interview is a face-to-face encounter between the mental health

 practitioner and patient during which the practitioner observes the patient and elicits information

 regarding the patient’s chief complaint, medical history, psychological history, family history,

 and social history.




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        176.    The mental status examination is a structured assessment of the patient’s

 behavioral and cognitive functioning. It includes descriptions of the patient’s appearance and

 general behavior, level of consciousness and attentiveness, thought processes, mood and affect,

 thought and perception, insight and judgment, and higher cognitive function, including memory,

 intellect, attention, and concentration. Typically, some components of the mental status

 examination are obtained through observation and other components are obtained through

 questioning of the patient.

        177.    In non-complex cases, a psychiatric diagnostic evaluation consisting of a patient

 interview and a mental status examination will typically elicit patient data sufficient to establish

 a diagnosis and formulate an individualized treatment plan for that patient. In an atypical or

 complex case, where a patient interview and mental status examination results in a differential

 diagnosis rather than an established diagnosis, a mental health practitioner may choose to

 incorporate simple self-administered or self-scored inventories, screening tests, or other similar

 tests to establish a diagnosis. The use of these simple types of inventories/tests are considered

 part of the evaluation service and are not separately payable as psychological testing.

                        (ii)   The Medically Unnecessary Psychiatric Diagnostic Evaluations

        178.    In the claims identified in Exhibits “1” and “2”, the vast majority of the Insureds

 did not suffer clinically significant psychological symptoms as a result of their underlying

 automobile accidents such that a psychiatric diagnostic evaluation was medically necessary.

        179.    In a legitimate clinical setting, a psychiatric diagnostic evaluation is medically

 necessary when a patient has a psychological illness and/or is demonstrating emotional or

 behavioral symptoms which manifest in inappropriate behavior patterns or maladaptive




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 functioning in personal or social settings, when a patient’s baseline functioning is altered by

 suspected illness or symptoms, or when a patient exhibits a sudden and rapid change in behavior.

        180.    In keeping with the fact that in the claims identified in Exhibits “1” and “2”, the

 vast majority of the Insureds did not suffer clinically significant psychological symptoms as a

 result of an underlying automobile accident such that a psychiatric diagnostic evaluation was

 medically necessary, the vast majority of the Insureds whom the Defendants purported to treat

 were involved in very minor, “fender–bender” accidents.

        181.    For example, in many of the claims identified in Exhibits “1” and “2”,

 contemporaneous police reports indicated that the Insureds’ accidents involved low-speed, low-

 impact collisions, that the Insureds’ vehicles were drivable following the accidents, and that no

 one was seriously injured, or injured at all, in the underlying accidents.

        182.    In addition, in many of the claims identified in Exhibits “1” and “2”, the Insureds

 did not seek treatment at any hospital as the result of their accidents, and virtually all of the

 Insureds who did go to the hospital were briefly observed in the emergency room and then

 released after a few hours, typically with nothing more serious than a soft tissue injury diagnosis,

 and no documented psychological symptoms.

        183.    It is highly improbable that these trivial “fender-benders” – which practically

 never resulted in serious physical injury – would have caused clinically significant psychological

 symptoms such that a psychiatric diagnostic evaluation was medically necessary in any of the

 Insureds who purportedly experienced them, much less in multiple Insureds involved in the same

 relatively minor accidents identified in Exhibits “1” and “2”.

        184.    It is even more improbable – to the point of impossibility – that this would occur

 repeatedly, oftentimes with two or more Insureds involved in the same relatively minor accident




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 presenting for psychiatric diagnostic evaluations at one of the Lloyd Entity Defendants on or

 about the exact same dates several weeks or even months after their accidents.

        185.    Even so, in keeping with the fact that the psychiatric diagnostic examinations

 purportedly conducted by the unlicensed “social workers” and the Defendants were medically

 unnecessary, the unlicensed “social workers” and the Defendants frequently purported to conduct

 psychiatric diagnostic evaluations on two or more Insureds involved in the same minor accident,

 on or about the same day, often many weeks and even months after the underlying accident, and

 at the conclusion of the psychiatric diagnostic evaluations, issued substantially identical

 “diagnoses” and recommended substantially similar courses of medically unnecessary

 “treatment” to the Insureds.

        186.    For example:

                (i)     On July 20, 2019, four Insureds – VB, NB, OS, and SU – were involved in
                        a relatively minor automobile accident. Thereafter, VB, NB, OS, and SU
                        presented on July 23, 2019 to Tristate for psychiatric diagnostic
                        evaluations by an unlicensed “social worker”. At the conclusion of the
                        purported psychiatric diagnostic evaluations, the unlicensed “social
                        worker” and the Defendants issued substantially identical “diagnoses” and
                        recommended substantially similar courses of medically unnecessary
                        “treatment” to VB, NB, OS, and SU.

                (ii)    On January 16, 2020, two Insureds – MR and JW – were involved in a
                        relatively minor automobile accident. Thereafter, six months later, MR
                        and JW presented on July 28, 2020 to Tristate for psychiatric diagnostic
                        evaluations by an unlicensed “social worker”. At the conclusion of the
                        purported psychiatric diagnostic evaluations, the unlicensed “social
                        worker” and the Defendants issued substantially identical “diagnoses” and
                        recommended substantially similar courses of medically unnecessary
                        “treatment” to MR and JW.

                (iii)   On February 14, 2020, two Insureds – DS and TS – were involved in a
                        relatively minor automobile accident. Thereafter, five months later, DS
                        and TS presented on July 2, 2020 to Tristate for psychiatric diagnostic
                        evaluations by an unlicensed “social worker”. At the conclusion of the
                        purported psychiatric diagnostic evaluations, the unlicensed “social
                        worker” and the Defendants issued substantially identical “diagnoses” and




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                    recommended substantially similar courses of medically unnecessary
                    “treatment” to DS and TS.

            (iv)    On May 25, 2020, two Insureds – BC and LR – were involved in a
                    relatively minor automobile accident. Thereafter, one month later, BC and
                    LR presented on June 24, 2020 to Tristate for psychiatric diagnostic
                    evaluations by an unlicensed “social worker”. At the conclusion of the
                    purported psychiatric diagnostic evaluations, the unlicensed “social
                    worker” and the Defendants issued substantially identical “diagnoses” and
                    recommended substantially similar courses of medically unnecessary
                    “treatment” to BC and LR.

            (v)     On July 1, 2020, two Insureds – CC and MF – were involved in a
                    relatively minor automobile accident. Thereafter, more than a month later,
                    CC and MF presented on August 11, 2020 to Tristate for psychiatric
                    diagnostic evaluations by an unlicensed “social worker”. At the conclusion
                    of the purported psychiatric diagnostic evaluations, the unlicensed “social
                    worker” and the Defendants issued substantially identical “diagnoses” and
                    recommended substantially similar courses of medically unnecessary
                    “treatment” to CC and MF.

            (vi)    On October 13, 2020, two Insureds – DV and MV – were involved in a
                    relatively minor automobile accident. Thereafter, more than five months
                    later, DV and MV presented on March 25, 2021 to Tristate for psychiatric
                    diagnostic evaluations by an unlicensed “social worker”. At the conclusion
                    of the purported psychiatric diagnostic evaluations, the unlicensed “social
                    worker” and the Defendants issued substantially identical “diagnoses” and
                    recommended substantially similar courses of medically unnecessary
                    “treatment” to DV and MV.

            (vii)   On January 28, 2021, two Insureds – SS and SY – were involved in a
                    relatively minor automobile accident. Thereafter, more than four months
                    later, SS and SY presented on June 1, 2021 to Tristate for psychiatric
                    diagnostic evaluations by an unlicensed “social worker”. At the conclusion
                    of the purported psychiatric diagnostic evaluations, the unlicensed “social
                    worker” and the Defendants issued substantially identical “diagnoses” and
                    recommended substantially similar courses of medically unnecessary
                    “treatment” to SS and SY.

            (viii) On March 16, 2021, two Insureds – HI and LI – were involved in a
                   relatively minor automobile accident. Thereafter, more than a month later,
                   HI and LI presented on April 20, 2021 to Tristate for psychiatric
                   diagnostic evaluations by an unlicensed “social worker”. At the conclusion
                   of the purported psychiatric diagnostic evaluations, the unlicensed “social
                   worker” and the Defendants issued substantially identical “diagnoses” and




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                        recommended substantially similar courses of medically unnecessary
                        “treatment” to HI and LI.

                (ix)    On March 16, 2021, two Insureds – AF and MG – were involved in a
                        relatively minor automobile accident. Thereafter, more than two months
                        later, AF and MG presented on May 18, 2021 to Tristate for psychiatric
                        diagnostic evaluations by an unlicensed “social worker”. At the conclusion
                        of the purported psychiatric diagnostic evaluations, the unlicensed “social
                        worker” and the Defendants issued substantially identical “diagnoses” and
                        recommended substantially similar courses of medically unnecessary
                        “treatment” to AF and MG.

                (x)     On May 18, 2021, three Insureds – MC, MJ, and LJ – were involved in a
                        relatively minor automobile accident. Thereafter, more than a month later,
                        MC, MJ, and LJ presented on June 29, 2021 to Tristate for psychiatric
                        diagnostic evaluations by an unlicensed “social worker”. At the conclusion
                        of the purported psychiatric diagnostic evaluations, the unlicensed “social
                        worker” and the Defendants issued substantially identical “diagnoses” and
                        recommended substantially similar courses of medically unnecessary
                        “treatment” to MC, MJ, and LJ.

        187.    These are only representative examples. In the claims for psychiatric diagnostic

 evaluations that are identified in Exhibits “1” and “2”, the unlicensed “social workers” and the

 Defendants often purported to conduct psychiatric diagnostic evaluations of two or more

 Insureds involved in the same minor accident, on or about the same day, often many weeks and

 even months after the underlying accident, and at the conclusion of the psychiatric diagnostic

 evaluations, issue substantially identical “diagnoses” and recommend substantially similar

 courses of medically unnecessary “treatment” to the Insureds.

                        (iii)   The Psychiatric Diagnostic Evaluations Were Never
                                Conducted in a Legitimate Manner in the First Instance

        188.    In addition to being medically unnecessary, the charges that the Defendants

 submitted or caused to be submitted to GEICO for the purported psychiatric diagnostic

 evaluations, as identified in Exhibits “1” and “2”, falsely represented that the evaluations were

 performed in a legitimate manner in the first instance.




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        189.       As set forth above, in a legitimate clinical setting, a psychiatric diagnostic

 evaluation generally entails gathering history, reviewing records, and carrying out a clinical

 interview and mental status examination, and then using that data to formulate a diagnosis and

 treatment plan.

        190.       In keeping with the fact that the psychiatric diagnostic evaluations were never

 legitimately performed in the first instance, the unlicensed “social workers” and the Defendants

 did not conduct a legitimate clinical interview of any Insured during the purported psychiatric

 diagnostic evaluations.

        191.       For example, to the extent the unlicensed “social workers” and the Defendants

 performed a clinical interview of any Insured at all, the unlicensed “social workers” and the

 Defendants used template forms with limited parameters in conducting the “interviews”.

        192.       In fact, the clinical interview portions of the psychiatric diagnostic evaluations, to

 the extent performed at all, were not meant to have any legitimate benefit for the Insureds that

 treated with the Lloyd Entity Defendants, but rather were only conducted in order to establish a

 basis for the charges submitted under CPT codes 90719 and 90801, as well as for the additional

 Fraudulent Services to which the unlicensed “social workers” and the Defendants purported to

 subject the Insureds, including psychological and/or neuropsychological “testing”.

        193.       For example, irrespective of any data elicited through the putative clinical

 interviews, the psychological evaluation reports submitted through the Lloyd Entity Defendants

 all contained boilerplate language and findings. Only the Insureds’ respective background

 information was unique to any particular patient.

        194.       For instance, virtually every report submitted through Tristate to GEICO

 contained the following boilerplate language:




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               “Initial Treatment Process Note”

               At the time of evaluation, the above named patient reported a number of
               symptoms that had developed or worsened since the motor vehicle accident.
               Several of these symptoms present at clinically significant levels and are currently
               impairing the patient’s adaptive functioning. It has been recommended for the
               patient to minimize the trauma, develop coping skills and address anxiety. A
               major aim of the session was to develop a therapeutic alliance between patient
               and therapist. During the initial evaluation patient was provided with
               psychoeducation and brief supportive therapy.

        195.   In addition, virtually every psychiatric diagnostic evaluation report submitted

 through   Tristate   to   GEICO    checked    off   the   exact   same     “Target   Symptoms”,

 “Functional/Behavioral Challenges”, “Therapeutic Goals”, “Specific Clinical Interventions”, and

 “Suggested Behavioral Approached”.

        196.   For example:




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        197.   What is more, virtually every psychiatric diagnostic evaluation report submitted

 through SLSP to GEICO, contained the following boilerplate statement:

               Given [name of Insured] above noted current psychological complaints in relation
               to [his/her] accident, the following battery of tests were administered to provide
               validation of diagnoses, provide baseline measures for [his/her] functioning, and
               determine prognosis. Further the results will be used to aid clinical decision-
               making during treatment. As there are no assessment instruments specifically
               designed and validated for the personal injury evaluations, the tests in this battery
               are chosen with consideration of the unique symptoms and psychopathology
               found in personal injury claimants. All relevant tests used are shown to have good
               reliability and validity.

        198.   In addition, and also in keeping with the fact that the charges that the Defendants

 submitted for the purported psychiatric diagnostic evaluations falsely represented that the

 evaluations were performed in a legitimate manner, at the conclusion of the purported psychiatric

 diagnostic evaluations, the unlicensed “social workers” and the Defendants assigned the vast

 majority of Insureds a phony “diagnosis” of either an adjustment disorder or a pain disorder with

 related psychological factors, purportedly as a result of trauma incurred during a minor

 automobile accident. The Insureds received these phony “diagnoses” regardless of their




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 individual circumstances or unique presentation. In actuality, the vast majority of Insureds did

 not suffer from any clinically significant psychological symptoms as a result of the minor

 automobile accidents they supposedly experienced.

         199.   What is more, boilerplate treatment plans given to all patients at the conclusion of

 psychiatric diagnostic evaluations are not valid treatment plans. Even so, and in keeping with the

 fact that the psychiatric diagnostic evaluations were not legitimately performed, after assigning

 phony “diagnoses” to the Insureds, rather than providing each Insured with an individualized

 treatment plan based on the Insured’s individual circumstances, symptomology, and

 presentation, the unlicensed “social workers” and the Defendants provided virtually every

 Insured with the exact same boilerplate treatment plan, differing only based upon whether the

 Insured treated with Tristate or SLSP.

         200.   For instance, at the conclusion of their purported psychiatric diagnostic

 evaluations, virtually every Insured who treated with Tristate was issued a treatment plan that

 consisted of supportive psychotherapy and relaxation therapy once per week.

         201.   In addition, at the conclusion of their purported psychiatric diagnostic evaluations,

 virtually every Insured who treated with SLSP was issued the following boilerplate treatment

 plan:

                [Name of Insured] should receive Supportive Psychotherapy through Cognitive-
                Behavioral Therapy and/or Biofeedback. Treatment should be provided at least
                once a week to cope with disability and regulate pain levels.

                2.     The Fraudulent Neurobehavioral Status Exam Charges

         202.   On the same dates of service that Insureds in the claims identified in Exhibits “1”

 and “2” were purportedly subjected to “psychiatric diagnostic evaluations,” the unlicensed




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 “social workers” and the Defendants purported to provide those same Insureds with

 “neurobehavioral status exams.”

           203.   The purported neurobehavioral status exams were then billed to GEICO in the

 following manner:

                  (i)    in the claims identified in Exhibit “1”, Lloyd, Grody, and the John Doe
                         Defendants, through Tristate, routinely submitted or caused to be
                         submitted to GEICO billing for a six (6) hour neurobehavioral status exam
                         under CPT 96116, virtually always resulting in a charge of $1,237.44; and

                  (ii)   in the claims identified in Exhibit “2”, the Defendants, through the SLSP,
                         routinely submitted or caused to be submitted to GEICO billing for a one
                         (1) hour neurobehavioral status exam under CPT 96116, virtually always
                         resulting in a charge of $324.07.

           204.   A “neurobehavioral status exam” is a neuropsychological assessment that

 provides information about diagnosis, prognosis, and treatment of disorders that are known to

 impact the central nervous system functioning and predict functional abilities across a variety of

 disorders.

           205.   The use of CPT code 96116 represents that a physician or other licensed

 healthcare professional conducted a neurobehavioral assessment consisting of: (i) a face-to-face

 assessment of a patient’s thinking, reasoning, and judgment; (ii) administration, grading, and

 interpretation of individualized neuropsychological testing; and (iii) preparation of a written

 report.

           206.   The charges for the neurobehavioral status exams identified in Exhibits “1” and

 “2” were fraudulent in that, as set forth above, the neurobehavioral status exams were conducted,

 to the extent conducted at all, pursuant to the improper financial arrangements between the

 Defendants and the Clinics, and not pursuant to the documented and clinically reasonable needs

 of the Insureds.




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        207.    In addition, the charges for the neurobehavioral status exams identified in

 Exhibits “1” and “2” were fraudulent in that the neurobehavioral status exams were: (i)

 medically unnecessary; and (ii) never legitimately performed in the first instance.

                       (i)     The Medically Unnecessary Neurobehavioral Status Exams

        208.    In a legitimate clinical setting, a neurobehavioral status exam is medically

 necessary when, among other things: (a) trauma-based cognitive impairment is suspected; (b) the

 questions to be addressed though the neurobehavioral status exam cannot be answered through

 means of a conventional psychiatric diagnostic evaluation; and (c) the results of the testing are

 likely to have a direct and significant impact on the clinical management of the patient.

        209.    In keeping with the fact that the neurobehavioral status exams purportedly

 performed by the unlicensed “social workers” for which billing was then submitted through the

 Lloyd Entity Defendants to GEICO were not medically necessary, the unlicensed “social

 workers” and the Defendants purported to conduct neurobehavioral status exams on virtually

 every Insured, as a matter of course, even in the absence of cognitive impairment symptoms.

        210.    For example:

                (i)    On or about January 29, 2020, an Insured named IG was involved in an
                       automobile collision. Thereafter, on June 25, 2020, IG presented at
                       Tristate for a psychiatric diagnostic evaluation. Though at the time of the
                       evaluation, IG reported no “mem[ory]/cog[native]/decision making
                       difficulty”, an unlicensed “social worker”, representing to be Lloyd,
                       purported to conduct a neurobehavioral status exam on IG. Billing was
                       then submitted through Tristate to GEICO for both a psychiatric
                       diagnostic evaluation and a neurobehavioral status exam.

                (ii)   On or about February 12, 2020, an Insured named NS was involved in an
                       automobile collision. Thereafter, on July 2, 2020, NS presented at Tristate
                       for a psychiatric diagnostic evaluation. Though at the time of the
                       evaluation, NS reported no “mem[ory]/cog[native]/decision making
                       difficulty”, an unlicensed “social worker”, representing to be Lloyd,
                       purported to conduct a neurobehavioral status exam on NS. Billing was




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                    then submitted through Tristate to GEICO for both a psychiatric
                    diagnostic evaluation and a neurobehavioral status exam.

            (iii)   On or about February 20, 2020, an Insured named TN was involved in an
                    automobile collision. Thereafter, on July 16, 2020, TN presented at
                    Tristate for a psychiatric diagnostic evaluation. Though at the time of the
                    evaluation, TN reported no “mem[ory]/cog[native]/decision making
                    difficulty”, an unlicensed “social worker”, representing to be Lloyd,
                    purported to conduct a neurobehavioral status exam on TN. Billing was
                    then submitted through Tristate to GEICO for both a psychiatric
                    diagnostic evaluation and a neurobehavioral status exam.

            (iv)    On or about February 21, 2020, an Insured named LD was involved in an
                    automobile collision. Thereafter, on June 8, 2020, LD presented at Tristate
                    for a psychiatric diagnostic evaluation. Though at the time of the
                    evaluation, LD reported no “mem[ory]/cog[native]/decision making
                    difficulty”, an unlicensed “social worker”, representing to be Lloyd,
                    purported to conduct a neurobehavioral status exam on LD. Billing was
                    then submitted through Tristate to GEICO for both a psychiatric
                    diagnostic evaluation and a neurobehavioral status exam.

            (v)     On or about March 28, 2020, an Insured named JP was involved in an
                    automobile collision. Thereafter, on May 29, 2020, JP presented at Tristate
                    for a psychiatric diagnostic evaluation. Though at the time of the
                    evaluation, JP reported no “mem[ory]/cog[native]/decision making
                    difficulty”, an unlicensed “social worker”, representing to be Lloyd,
                    purported to conduct a neurobehavioral status exam on JP. Billing was
                    then submitted through Tristate to GEICO for both a psychiatric
                    diagnostic evaluation and a neurobehavioral status exam.

            (vi)    On or about April 12, 2020, an Insured named YJ was involved in an
                    automobile collision. Thereafter, on May 22, 2020, YJ presented at
                    Tristate for a psychiatric diagnostic evaluation. Though at the time of the
                    evaluation, YJ reported no “mem[ory]/cog[native]/decision making
                    difficulty”, an unlicensed “social worker”, representing to be Lloyd,
                    purported to conduct a neurobehavioral status exam on YJ. Billing was
                    then submitted through Tristate to GEICO for both a psychiatric
                    diagnostic evaluation and a neurobehavioral status exam.

            (vii)   On or about May 6, 2020, an Insured named AW was involved in an
                    automobile collision. Thereafter, on June 24, 2020, AW presented at
                    Tristate for a psychiatric diagnostic evaluation. Though at the time of the
                    evaluation, AW reported no “mem[ory]/cog[native]/decision making
                    difficulty”, an unlicensed “social worker”, representing to be Lloyd,
                    purported to conduct a neurobehavioral status exam on AW. Billing was




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                    then submitted through Tristate to GEICO for both a psychiatric
                    diagnostic evaluation and a neurobehavioral status exam.

            (viii) On or about May 30, 2020, an Insured named MM was involved in an
                   automobile collision. Thereafter, on June 30, 2020, MM presented at
                   Tristate for a psychiatric diagnostic evaluation. Though at the time of the
                   evaluation, MM reported no “mem[ory]/cog[native]/decision making
                   difficulty”, an unlicensed “social worker”, representing to be Lloyd,
                   purported to conduct a neurobehavioral status exam on MM. Billing was
                   then submitted through Tristate to GEICO for both a psychiatric
                   diagnostic evaluation and a neurobehavioral status exam.

            (ix)    On or about July 20, 2020, an Insured named TE was involved in an
                    automobile collision. Thereafter, on August 3, 2020, TE presented at
                    Tristate for a psychiatric diagnostic evaluation. Though at the time of the
                    evaluation, TE reported no “mem[ory]/cog[native]/decision making
                    difficulty”, an unlicensed “social worker”, representing to be Lloyd,
                    purported to conduct a neurobehavioral status exam on TE. Billing was
                    then submitted through Tristate to GEICO for both a psychiatric
                    diagnostic evaluation and a neurobehavioral status exam.

            (x)     On or about August 3, 2020, an Insured named CB was involved in an
                    automobile collision. Thereafter, on September 15, 2020, CB presented at
                    Tristate for a psychiatric diagnostic evaluation. Though at the time of the
                    evaluation, CB reported no “mem[ory]/cog[native]/decision making
                    difficulty”, an unlicensed “social worker”, representing to be Lloyd,
                    purported to conduct a neurobehavioral status exam on CB. Billing was
                    then submitted through Tristate to GEICO for both a psychiatric
                    diagnostic evaluation and a neurobehavioral status exam.

            (xi)    On or about December 2, 2020, an Insured named JP was involved in an
                    automobile collision. Thereafter, on January 25, 2021, JP presented at
                    SLSP for a psychiatric diagnostic evaluation. Though JP reported no
                    cognitive symptoms at the time of the evaluation, and though his speech
                    was “clear”, his motor activity was “normal”, he was “oriented x4”, his
                    thought process was “logical”, he was “alert” and “attentive”, and he
                    displayed “appropriate” perception and “intact” memory, an unlicensed
                    “social worker”, representing to be Lloyd, purported to conduct a
                    neurobehavioral status exam on JP. Billing was then submitted through
                    SLSP to GEICO for both a psychiatric diagnostic evaluation and a
                    neurobehavioral status exam.

            (xii)   On or about December 24, 2020, an Insured named AR was involved in an
                    automobile collision. Thereafter, on January 26, 2021, AR presented at
                    SLSP for a psychiatric diagnostic evaluation. Though AR reported no
                    cognitive symptoms at the time of the evaluation, and though his speech




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                    was “clear”, his motor activity was “normal”, he was “oriented x4”, his
                    thought process was “logical”, he was “alert” and “attentive”, and he
                    displayed “appropriate” perception and “intact” memory, an unlicensed
                    “social worker”, representing to be Lloyd, purported to conduct a
                    neurobehavioral status exam on AR. Billing was then submitted through
                    SLSP to GEICO for both a psychiatric diagnostic evaluation and a
                    neurobehavioral status exam.

            (xiii) On or about December 24, 2020, an Insured named LB was involved in an
                   automobile collision. Thereafter, on January 27, 2021, LB presented at
                   SLSP for a psychiatric diagnostic evaluation. Though LB reported no
                   cognitive symptoms at the time of the evaluation, and though her speech
                   was “clear”, her motor activity was “normal”, she was “oriented x4”, her
                   thought process was “logical”, she was “alert” and “attentive”, and she
                   displayed “appropriate” perception and “intact” memory, an unlicensed
                   “social worker”, representing to be Lloyd, purported to conduct a
                   neurobehavioral status exam on LB. Billing was then submitted through
                   SLSP to GEICO for both a psychiatric diagnostic evaluation and a
                   neurobehavioral status exam.

            (xiv)   On or about January 18, 2021, an Insured named AG was involved in an
                    automobile collision. Thereafter, on January 25, 2021, AG presented at
                    SLSP for a psychiatric diagnostic evaluation. Though AG reported no
                    cognitive symptoms at the time of the evaluation, and though her speech
                    was “clear”, her motor activity was “normal”, she was “oriented x4”, her
                    thought process was “logical”, she was “alert” and “attentive”, and she
                    displayed “appropriate” perception and “intact” memory, an unlicensed
                    “social worker”, representing to be Lloyd, purported to conduct a
                    neurobehavioral status exam on AG. Billing was then submitted through
                    SLSP to GEICO for both a psychiatric diagnostic evaluation and a
                    neurobehavioral status exam.

            (xv)    On or about February 23, 2021, an Insured named KW was involved in an
                    automobile collision. Thereafter, on March 17, 2021, KW presented at
                    SLSP for a psychiatric diagnostic evaluation. Though KW reported no
                    cognitive symptoms at the time of the evaluation, and though his speech
                    was “clear”, his motor activity was “normal”, he was “oriented x4”, his
                    thought process was “logical”, he was “alert” and “attentive”, and he
                    displayed “appropriate” perception and “intact” memory, an unlicensed
                    “social worker”, representing to be Lloyd, purported to conduct a
                    neurobehavioral status exam on KW. Billing was then submitted through
                    SLSP to GEICO for both a psychiatric diagnostic evaluation and a
                    neurobehavioral status exam.

            (xvi)   On or about March 3, 2021, an Insured named MS was involved in an
                    automobile collision. Thereafter, on March 17, 2021, MS presented at




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                    SLSP for a psychiatric diagnostic evaluation. Though MS reported no
                    cognitive symptoms at the time of the evaluation, and though his speech
                    was “clear”, his motor activity was “normal”, he was “oriented x4”, his
                    thought process was “logical”, he was “alert” and “attentive”, and he
                    displayed “appropriate” perception and “intact” memory, an unlicensed
                    “social worker”, representing to be Lloyd, purported to conduct a
                    neurobehavioral status exam on MS. Billing was then submitted through
                    SLSP to GEICO for both a psychiatric diagnostic evaluation and a
                    neurobehavioral status exam.

            (xvii) On or about April 1, 2021, an Insured named EE was involved in an
                   automobile collision. Thereafter, on July 1, 2021, EE presented at SLSP
                   for a psychiatric diagnostic evaluation. Though EE reported no cognitive
                   symptoms at the time of the evaluation, and though his speech was
                   “clear”, his motor activity was “normal”, he was “oriented x4”, his
                   thought process was “logical”, he was “alert” and “attentive”, and he
                   displayed “appropriate” perception and “intact” memory, an unlicensed
                   “social worker”, representing to be Lloyd, purported to conduct a
                   neurobehavioral status exam on EE. Billing was then submitted through
                   SLSP to GEICO for both a psychiatric diagnostic evaluation and a
                   neurobehavioral status exam.

            (xviii) On or about April 24, 2021, an Insured named CS was involved in an
                    automobile collision. Thereafter, on May 4, 2021, CS presented at SLSP
                    for a psychiatric diagnostic evaluation. Though CS reported no cognitive
                    symptoms at the time of the evaluation, and though her speech was
                    “clear”, her motor activity was “normal”, she was “oriented x4”, her
                    thought process was “logical”, she was “alert” and “attentive”, and she
                    displayed “appropriate” perception and “intact” memory, an unlicensed
                    “social worker”, representing to be Lloyd, purported to conduct a
                    neurobehavioral status exam on CS. Billing was then submitted through
                    SLSP to GEICO for both a psychiatric diagnostic evaluation and a
                    neurobehavioral status exam.

            (xix)   On or about May 6, 2021, an Insured named JL was involved in an
                    automobile collision. Thereafter, on June 2, 2021, JL presented at SLSP
                    for a psychiatric diagnostic evaluation. Though JL reported no cognitive
                    symptoms at the time of the evaluation, and though his speech was
                    “clear”, his motor activity was “normal”, he was “oriented x4”, his
                    thought process was “logical”, he was “alert” and “attentive”, and he
                    displayed “appropriate” perception and “intact” memory, an unlicensed
                    “social worker”, representing to be Lloyd, purported to conduct a
                    neurobehavioral status exam on JL. Billing was then submitted through
                    SLSP to GEICO for both a psychiatric diagnostic evaluation and a
                    neurobehavioral status exam.




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                (xx)   On or about June 20, 2021, an Insured named GJ was involved in an
                       automobile collision. Thereafter, on June 21, 2021, GJ presented at SLSP
                       for a psychiatric diagnostic evaluation. Though GJ reported no cognitive
                       symptoms at the time of the evaluation, and though his speech was
                       “clear”, his motor activity was “normal”, he was “oriented x4”, his
                       thought process was “logical”, he was “alert” and “attentive”, and he
                       displayed “appropriate” perception and “intact” memory, an unlicensed
                       “social worker”, representing to be Lloyd, purported to conduct a
                       neurobehavioral status exam on GJ. Billing was then submitted through
                       SLSP to GEICO for both a psychiatric diagnostic evaluation and a
                       neurobehavioral status exam.

        211.    These are only representative samples.

        212.    In the claims neurobehavioral status exams that are identified in Exhibits “1” and

 “2”, an unlicensed “social worker” and the Defendants routinely purported to contemporaneously

 conduct neurobehavioral status exams and psychiatric diagnostic evaluations on Insureds, often

 in the complete absence of clinically significant psychiatric symptoms or cognitive impairment

 resulting from the Insureds’ underlying automobile collisions.

        213.    What is more, and in keeping with the fact that the neurobehavioral status exams

 were medically unnecessary, the unlicensed “social workers” and the Defendants purported to

 provide both a psychiatric diagnostic evaluation and a neurobehavioral status exam to virtually

 every Insured on the same dates of service, as a matter of course, and without any individualized

 determination that the psychiatric diagnostic evaluations failed to address any question or

 questions central to the Insureds’ diagnosis and treatment.

        214.    In further keeping with the fact that the neurobehavioral status exams were not

 medically necessary, not only did the results of the testing not have a “direct and significant

 impact” on the clinical management of any Insured, they had no impact whatsoever.

        215.    For instance, as set forth above, regardless of the “results” of the purported

 neurobehavioral status exams, at the conclusion of the exams, the unlicensed “social workers”




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 and the Defendants assigned the Insureds bogus diagnoses and provided boilerplate treatment

 plans, as a matter of course.

                         (ii)    The Neurobehavioral Status Exams That Were Never
                                 Conducted in a Legitimate Manner in the First Instance

         216.    In addition to the neurobehavioral status exams being medically unnecessary, the

 charges that the Defendants submitted or caused to be submitted to GEICO for the purported

 neurobehavioral status exams, as identified in Exhibits “1” and “2”, falsely represented that the

 exams were conducted in a legitimate manner in the first instance.

         217.    As set forth above, in a legitimate clinical setting, a neurobehavioral status exam

 generally entails: (i) a face-to-face assessment of a patient’s thinking, reasoning, and judgment;

 (ii) administration, grading, and interpretation of individualized neuropsychological testing; and

 (iii) preparation of a written report.

         218.    In keeping with the fact that the neurobehavioral status exams for which charges

 were submitted through the Lloyd Entity Defendants to GEICO were not performed in a

 legitimate manner in the first instance, the unlicensed “social workers” and the Defendants never

 performed a face-to-face assessment of any Insured for the purposes of assessing the Insured’s

 thinking, reasoning, and judgement. In fact, the only face-to-face interaction that the unlicensed

 “social workers” had with any Insured was during the patient interviews purportedly conducted

 as part of the psychiatric diagnostic evaluations. As set forth above, the face-to-face interviews

 performed during the psychiatric diagnostic evaluations were perfunctory, conducted according

 to templates and checklists consisting of limited parameters, and not intended to elicit any

 information that would significantly affect the diagnosis or treatment of any Insured, including

 information regarding the Insured’s thinking, reasoning, and judgment.




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         219.   What is more, and in further keeping with the fact that the neurobehavioral status

 exams were not performed in a legitimate manner the first instance, the unlicensed “social

 workers” and the Defendants never administered, graded, and interpreted individualized

 neuropsychological testing as part of the neurobehavioral status exams. Instead, the unlicensed

 “social workers” and the Defendants purported to provide an identical battery of

 “neuropsychological testing” to virtually every Insured who treated with either Tristate or SLSP,

 without regard to any Insured’s individual circumstances or presentment.

         220.   In particular, the unlicensed “social workers” and the Defendants purported to

 perform the following “neuropsychological testing” on virtually every Insured who treated with

 Tristate:

                (i)     Beck Anxiety Inventory (“BAI”) – a twenty-one question self-report used
                        to evaluate the symptoms of anxiety. A BAI typically takes ten to fifteen
                        (10-15) minutes to administer;

                (ii)    Beck Depression Inventory – II (“BDI”) – a twenty-one question self-
                        report used to evaluate the symptoms of depression. A BDI typically takes
                        ten to fifteen (10-15) minutes to administer;

                (iii)   PCL-C (“PTSD Checklist”) – a 17-item self-reporting rating scale used to
                        evaluate symptoms of PTSD. A PTSD Checklist typically takes five to ten
                        (5-10) minutes to administer; and

                (iv)    Montreal Cognitive Assessment (“MoCA”) – a rapid screening instrument
                        that assesses mild cognitive dysfunction. A MoCA typically takes ten (10)
                        minutes to administer.

         221.   In addition, the unlicensed “social workers” and the Defendants purported to

 perform the following “neuropsychological testing” on virtually every Insured who treated with

 SLSP:

                (i)     Short Blessed Test (“SBI”) – a simple 6-question screening tool that
                        assesses cognitive changes associated with dementia. An SBT typically
                        takes five to ten (5-10) minutes to administer;




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                (ii)     BAI – see ¶ 119(i) above;

                (iii)    BDI – see ¶ 119(ii) above;

                (iv)     Beck Hopelessness Scale (“BHS”) – a set of 10-20 true/false questions
                         used to assess a patient’s mental state with regards to the future,
                         motivation, and expectations. A BHS typically takes ten to fifteen (10-15)
                         minutes to administer;

                (v)      Pain Disability Index (“PDI”) – a 7-item self-report instrument that helps
                         measure the impact chronic pain has on a person’s life activities. A PDI
                         typically takes approximately five (5) minutes to administer;

                (vi)     Posttraumatic Stress Disorder Checklist for DSMI-5 (“PCL-5”) – a 20-
                         item self-report measure that assesses the 20 DSM-5 symptoms of PTSD.
                         A PCL-5 typically takes five to ten (5-10) minutes to administer;

                (vii)    Health Status Questionnaire 1.0 (“HSQ”) – a 39-item multiple choice test
                         used to assess health attributes, health status change, and risk of
                         depression. An HSQ typically takes five to ten (5-10) minutes to
                         administer; and

                (viii) Psychological Inflexibility in Pain Scale (PIPS) – a 16-item scale used to
                       assess psychological inflexibility in people with chronic pain. A PIPS
                       typically takes approximately five to ten (5-10) minutes to administer.

        222.    Finally, and in further keeping with the fact that the unlicensed “social workers”

 and the Defendants never conducted a neurobehavioral status exam in a legitimate manner in the

 first instance, the unlicensed “social workers” and the Defendants never drafted a legitimate

 written, interpretive report reflecting the purported neurobehavioral status exams.

        223.    In fact, the only written “reports” submitted through the Lloyd Entity Defendants

 to GEICO were the purported psychiatric diagnostic evaluation reports discussed above.

        224.    To the extent that the psychiatric diagnostic evaluation reports submitted through

 the Lloyd Entity Defendants to GEICO at all addressed the purported neurobehavioral status

 exams, the reports merely included the Insureds’ putative test “scores” with no legitimate

 substantive analysis.




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        225.    For example, though virtually all of the written reports submitted through SLSP

 contained a section labelled “Impressions”, the section merely consisted of the following

 boilerplate language that was copied from one Insured’s report to the next and which does not in

 any way reference cognitive impairment:

                Impressions: According to the preliminary results, [name of Insured] is suffering
                from emotional and behavioral problems in addition to physical outcomes of the
                accident. These symptoms are consequently and casually related to the accident
                on [date of underlying accident].

        226.    What is more, as set forth above, the written reports submitted through Tristate to

 GEICO were comprised of nothing more than some identifying information about the respective

 Insureds and their accidents, a boilerplate “Initial Treatment Progress Note”, virtually the same

 exact checked off “Target Symptoms”, “Functional/Behavioral Challenges”, “Therapeutic

 Goals”, “Specific Clinical Interventions”, and “Suggested Behavioral Approached”, and a

 boilerplate “treatment plan.” Not included in the reports was any analysis of any Insured’s

 neurobehavioral status or cognitive impairment.

                        (iii)   Tristate’s Misrepresentations Regarding the Amount of Time
                                Spent on Neurobehavioral Status Exams

        227.    Furthermore, charges for the neurobehavioral status exams that were submitted by

 the Defendants through Tristate to GEICO, as identified in Exhibit “1”, were also fraudulent

 because – notwithstanding the Defendants’ misrepresentations that the exams virtually always

 took six (6) hours to perform – the exams never took more than one (1) hour to conduct, to the

 extent conducted at all.

        228.    In particular, virtually every bill for a six (6) hour neurobehavioral status exam

 submitted through Tristate to GEICO included a “superbill” that allocated the billed time in the

 following manner: (i) “Face to Face Administration” – one (1) hour; (ii) “Scoring” – one (1) hour




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 and thirty (30) minutes; (iii) “Interpretation” – three (3) hours; and (iv) “Report Prep” – one (1)

 hour.

         229.   For example:




         230.   In fact, the unlicensed “social workers”, on behalf of Tristate did not spend (i) one

 (1) hour conducting “face to face administration” of neuropsychological testing. Rather, in

 virtually every case, at most, the unlicensed “social workers” personally administered the 1-page

 MoCA to the Insured, a process that typically takes ten (10) minutes to complete. The three (3)

 remaining tests (BAI, BDI-2, and PTSD Checklist) were not administered face-to-face by the

 unlicensed “social workers”, but rather were automatically distributed to the Insureds by the

 front desk receptionists at the Clinics, and the Insureds typically filled them out before even

 meeting any of the unlicensed “social workers”.

         231.   Nor did the unlicensed “social workers” on behalf of Tristate spend one (1) hour

 and thirty (30) minutes “scoring” the four (4) tests, but rather just minutes.

         232.   In keeping with the fact that the unlicensed “social workers”, on behalf of Tristate

 only spent, at most, minutes “scoring” an Insured’s tests, scoring of the: (i) BAI involves nothing




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 more than tabulating the overall score where the patient assigned a value between zero (0) and

 three (3) to twenty-one (21) symptoms; (ii) BDI-2 involves nothing more than tabulating the

 overall score where the patient assigned a value between zero (0) and three (3) to twenty-one

 (21) feelings; (iii) PCL-C involves nothing more than tabulating the overall score where the

 patient assigned a value between one (1) and five (5) to seventeen (17) stressful life experience;

 and (iv) MoCA scoring is performed contemporaneously with the administration of the test,

 which typically takes ten (10) minutes to complete.

        233.    What is more, though Tristate’s billing represents that Lloyd, through Tristate

 spent three (3) “interpreting” each Insured’s test results, in fact, the unlicensed “social workers”

 on behalf of Tristate performed no interpretation of test results.

        234.    In keeping with the fact that the unlicensed “social workers”, on behalf of

 Tristate, performed no interpretation of test results, as set forth above, the unlicensed “social

 workers”, Lloyd, Grody, the John Doe Defendants, and Tristate assigned each Insured a bogus

 diagnosis and boilerplate treatment plan, irrespective of any Insured’s test results.

        235.    Finally, the unlicensed “social workers”, on behalf of Tristate, spent, at most, a

 few minutes preparing a written report reflecting each Insured’s purported neurobehavioral status

 exam – not one (1) hour per report. In fact, the written neurobehavioral status exam reports

 submitted through Tristate to GEICO consisted of nothing more than one (1) page containing

 information cut and pasted from the Insured’s psychiatric diagnostic evaluation report and the

 Insured’s completed test papers.

                3.      SLSP’s Fraudulent Charges              for    Psychological      Testing   and
                        Neuropsychological Testing

        236.    Not only did the Defendants submit or cause to be submitted improper billing for

 psychiatric diagnostic evaluations and neurobehavioral status exams through SLSP, the




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 unlicensed “social workers”, at the direction of the Management Defendants, and on behalf of

 the SLSP, also purported to provide those same Insureds with a battery of needless psychological

 tests and neuropsychological tests (collectively the “Psych Testing”).

         237.       The Management Defendants, on behalf of the SLSP then billed or caused to be

 billed to GEICO: (i) the psychological testing under CPT code 96101, virtually always for four

 (4) hours of testing, at a rate of $290.12 per hour; and (ii) the neuropsychological testing under

 CPT code 96118, virtually always for two (2) hours of testing, at a rate of $350.11 per hour. In

 total, this resulted in routine charges of $1,860.70.22 per round of Psych Testing, separate and

 apart from the charges for psychiatric diagnostic evaluations and neurobehavioral status exams,

 per Insured who treated with SLSP.

                           (i)    SLSP’s Medically Unnecessary Psych Testing

         238.       Similar to the charges for the psychiatric diagnostic evaluations and

 neuropsychological status exams, the charges for the Psych Testing were fraudulent inasmuch as

 the Psych Testing was medically unnecessary, and was conducted, to the extent conducted at all,

 pursuant to a pre-determined fraudulent treatment protocol and kickback arrangements between

 the Defendants and the owners/managers of the Clinics, not pursuant to the documented and

 clinically-reasonable needs of the Insureds, or to benefit the Insureds who supposedly were

 subjected to it.

         239.       In keeping with the fact that the Psych Testing was medically unnecessary, as set

 forth above, the vast majority of Insureds did not suffer from any clinically significant

 psychological symptoms nor any cognitive impairment as a result of their relatively minor

 accidents.




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        240.    Even if any of the Insureds did suffer clinically significant symptoms or

 impairment as a result of their putative accidents – which they did not – in a legitimate clinical

 setting, the psychiatric diagnostic evaluation is typically the only service necessary to formulate

 a diagnosis and treatment plan for individual Insureds with non-complex psychological cases.

 Conversely, as with the neurobehavioral status exams, Psych Testing is only indicated where a

 diagnosis and treatment plan is not capable of being developed at the conclusion of a psychiatric

 diagnostic evaluation, typically in complex psychological cases.

        241.    In the claims for Psych Testing that are identified in Exhibit “2”, few, if any, of

 the Insureds who purportedly were subjected to Psych Testing by the unlicensed “social

 workers”, on behalf of the SLSP, presented with complex psychological symptoms. Rather, each

 Insured – to the extent that they suffered any clinically significant symptoms or impairment at all

 as a result of their putative automobile accidents – experienced an obvious precipitant (i.e., the

 underlying automobile accident) and developed the supposed symptoms or impairments in

 response to the accident. In straightforward, non-complex cases such as these, the clinical

 interview and mental status examination portions of the psychiatric diagnostic evaluation are

 generally sufficient mechanisms for gathering the patient data necessary to formulate an

 individualized diagnosis and treatment plan.

        242.    In further keeping with the fact that the purported Psych Testing was medically

 unnecessary, the Psych Testing was performed, to the extent performed at all, pursuant to the

 Defendants’ fraudulent treatment protocol and unlawful kickbacks and was not intended to elicit

 any information that would significantly affect the diagnosis or treatment of any Insured.

        243.    For instance, the unlicensed “social workers”, at the direction of the Management

 Defendants and on behalf of the SLSP, purported to provide an identical battery of Psych Testing




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 to virtually every Insured who treated with SLSP, without regard to any Insureds’ individual

 circumstances or presentment.

        244.    Specifically, as set forth above, for those Insureds who treated with SLSP, the

 unlicensed “social workers” purported to perform an SBI, BAI, BDI-2, BHS, PDI, PCL-5, HSQ,

 and PIPS, regardless of any Insured’s individual symptoms and presentment.

        245.    What is more, regardless of any Insured’s test scores, SLSP provided each Insured

 with bogus diagnoses and the same boilerplate treatment plan.

        246.    Finally, a “confounding variable” is an unmeasured third variable that influences,

 or confounds, the relationship between an independent and a dependent variable by suggesting

 the presence of a spurious correlation. For the results of psychological testing to be valid, all

 confounding variables must be accounted for and/or removed before the testing is conducted.

        247.    Drug use and alcohol use are two examples of confounding variables. This is

 because drugs and alcohol are mind altering substances capable of suggesting the presence of

 psychological symptoms resulting from a traumatic event when in fact the psychological

 symptoms are simply a temporary byproduct of the substance use.

        248.    In further keeping with the fact that the purported Psych Testing was medically

 unnecessary and not intended to elicit any information that would significantly affect the

 diagnosis or treatment of any Insured, in many cases in the claims identified in Exhibits “1” and

 “2”, though the Insured purported to disclose recent drug and/or alcohol use during the

 psychiatric diagnostic evaluation, the unlicensed “social worker” purported to conduct the Psych

 Testing without, at minimum, accounting for the drug and/or alcohol use in the final analysis of

 the testing results, or, if necessary, requiring the Insured to return for testing after sufficiently

 detoxing.




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                        (ii)    SLSP’s misrepresentations Regarding the Amount of Time
                                Spent on Psych Testing

         249.    Furthermore, charges for the Psych Testing that were submitted by the Defendants

 through SLSP to GEICO, as identified in Exhibit “2”, were also fraudulent because,

 notwithstanding the misrepresentations that the Psych Testing virtually always took a total of six

 (6) hours to perform – the tests never took more than, at most, between (1) and two (2) hours to

 administer, score, and interpret, to the extent they were administered, scored, and interpreted in

 the first instance.

         250.    For example, the Psych Testing virtually always consisted of nothing more than a

 packet of eight (8) pre-printed checklists, inventories, and/or scales that were automatically

 distributed to the Insureds by the front desk receptionists at the Clinics, and which the Insureds

 typically filled out before even meeting any of the unlicensed “social workers”.

         251.    Even if the Psych Testing was administered face-to-face by the unlicensed “social

 workers” – which it was not – the maximum amount of time typically needed to administer all

 eight (8) Psych Tests is just ninety (90) minutes.

         252.    What is more, to the extent the billing for Psych Testing submitted through SLSP

 to GEICO purports to include time for “interpretation” and “report prep”, virtually none of the

 reports submitted by the Defendants through SLSP contained any legitimate written

 interpretation or analysis of the Psych Testing results.

         253.    For instance, as set forth above, though virtually all of the reports submitted

 through SLSP contained a section labelled “Impressions”, the language in each “Impressions”

 section reflected no legitimate analysis of Psych Testing Results, but rather was merely the

 following boilerplate language:




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                   Impressions: According to the preliminary results, [name of Insured] is suffering
                   from emotional and behavioral problems in addition to physical outcomes of the
                   accident. These symptoms are consequently and casually related to the accident
                   on [date of underlying accident].

                   (iii)   The Fraudulent Misrepresentations Regarding the Existence of
                           Written, Interpretive Reports for the Psychological Testing

            254.   Finally, the Defendants’ charges for the Psychological Testing also are fraudulent

 in that the use of CPT codes 96116 and 96118 represents that the Defendants have prepared a

 legitimate written report interpreting the test results. Though the Defendants routinely billed for

 the Psychological Testing under CPT code codes 96116 and 96118, and though the Defendants

 submitted what they purport to be interpretive test reports in support of their billing, none of the

 unlicensed “social workers” or Defendants prepared any valid written reports interpreting the test

 results.

            255.   Rather, virtually every “Psychological Report” submitted or caused to be

 submitted by the Defendants through the Lloyd Entity Defendants to GEICO in support of the

 respective Lloyd Entity Defendant’s psychological testing charges merely contained the

 Insureds’ putative test “scores” and a summary of answers or actual answers, a one-word

 interpretation (if any) of the putative test scores (i.e., “normal”, “moderate”, “mild”), a phony

 diagnosis purportedly based on the results of the psychological testing, and other boilerplate

 language.

            256.   Then, per his arrangement with the Management Defendants, Lloyd’s signature

 was affixed to the “reports”.

                   4.      Tristate’s “Unbundled” Charges

            257.   Not only did the Defendants, through Tristate, submit improper billing for

 psychiatric diagnostic evaluations and neurobehavioral status exams through Tristate, they also




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 routinely “unbundled” the charges in order to maximize the billing they could submit, or cause to

 be submitted, through Tristate to GEICO.

        258.    In particular, for virtually every Insured that treated with Tristate, in addition to

 submitting charges for a psychiatric diagnostic evaluation, the Defendants, also submitted

 separate charges through Tristate to GEICO for: (i) “psychiatric evaluation of medical records”

 under CPT code 90885, typically resulting in a separate charge of $67.24; and (ii) 20-30 minutes

 of individual psychotherapy under CPT code 90804, typically resulting in a separate charge of

 $76.88.

                       (i)     Tristate’s “Unbundled” Record Review Charges

        259.    The use of CPT code 90885 represents that a psychologist conducted a

 “psychiatric evaluation of hospital records, other psychiatric reports, psychometric and/or

 projective tests, and other accumulated data for medical diagnostic purposes.” Lloyd, Grody, and

 the John Doe Defendants routinely submitted charges through Tristate to GEICO under CPT

 code 90885 falsely representing that a psychiatric evaluation of medical records was performed

 on the same date of service as the psychiatric diagnostic evaluation, despite the fact that review

 and evaluation of the Insureds’ medical and psychological records was necessary to, and already

 was reimbursed as an element of, the Insured’s purported psychiatric diagnostic evaluation. In

 other words, Lloyd, Grody, the John Doe Defendants, and Tristate cannot conduct and bill for a

 psychiatric diagnostic evaluation and then bill separately for the contemporaneous review of

 medical or psychological records.

        260.    Furthermore, the Defendants charges through Tristate under CPT code 90885 for

 record review and evaluation misrepresented the performance of the service because neither




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 Lloyd nor and of the unlicensed “social workers” ever reviewed or evaluated any records to

 support the charges.

        261.    The conclusion that neither Lloyd nor any of the unlicensed “social workers” ever

 reviewed any records to support the charges billed under CPT code 90885 is confirmed by the

 fact that the “Review of Medical Records” report accompanying Tristate’s billing virtually never

 identified any specific records that were actually reviewed. Rather, without listing any actual

 records reviewed, the “Review of Medical Records” report simply indicated that, “[t]he review

 of medical records confirmed that the patient was subjected to a MVA” and then listed the

 “referring physician’s” diagnoses.

                        (ii)    Tristate’s “Unbundled” Psychotherapy Charges

        262.    In addition, on the same date that Insureds in the claims identified in Exhibit “1”

 were purportedly subjected to a psychiatric diagnostic evaluation and a neurobehavioral status

 examination, the unlicensed “social workers”, on behalf of Tristate, purported to provide those

 same Insureds with a 20–30-minute psychotherapy session, for which a charge was then

 submitted through Tristate to GEICO under CPT code 90804, typically resulting in a charge of

 $76.88 per Insured.

        263.    In a legitimate clinical setting, a charge for psychotherapy should only be billed

 on the same date of service as a charge for a psychiatric diagnostic evaluation if the two services

 are significant and separately identifiable.

        264.    Even so, as a matter of course, the Defendants, through Tristate, submitted a

 charge for a 20–30-minute psychotherapy session purportedly conducted on the same date of

 service as a psychiatric diagnostic evaluation, for which they also submitted a separate and

 independent charge, despite the fact that a separate and independent psychotherapy session was




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 never “significant and separately identifiable” from the purported contemporaneously-conducted

 psychiatric diagnostic evaluation.

        265.    In keeping with the fact that a separate and independent psychotherapy session

 was never “significant and separately identifiable” from the purported contemporaneously-

 conducted psychiatric diagnostic evaluation, the only “therapy” purportedly provided on the

 relevant date of service was provided as part of the purported psychiatric diagnostic evaluation.

        266.    For instance, the boilerplate “Initial Treatment Process Note” included in every

 Tristate psychiatric diagnostic evaluation report includes the following summary:

                A major aim of the [evaluation] session was to develop a therapeutic alliance
                between patient and therapist. During the initial evaluation patient was
                provided with psychoeducation and supportive therapy.

 (Emphasis added).

                5.     Fraudulent Billing for the “Social Workers” Who Were Neither
                       Licensed, Supervised, nor Employed by the Lloyd Entity Defendants

        267.    Defendants’ scheme also included the submission of fraudulent claims in the

 name of the Lloyd Entity Defendants to GEICO seeking payment for services performed by the

 unlicensed “social workers” who were neither employed by either of the Lloyd Entity

 Defendants nor supervised by Lloyd or any licensed healthcare professional.

        268.    Pursuant to New York Education Law §7605 Sect. 3(13), an individual with a

 Masters level degree in psychology or its equivalent can practice psychology, including

 performing psychological testing and counseling, so long as that individual is “working under the

 supervision of a licensed psychologist.”

        269.    In addition, under the New York No-Fault Law, billing entities (including sole

 proprietorships) are ineligible to bill for or receive payment for goods or services provided by




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 independent contractors – the healthcare services must be provided by the billing provider itself,

 or by its employees.

        270.    The unlicensed “social workers” were not licensed psychologists, but rather held

 Masters level degrees in social work (at best). As a result, the No-Fault Law prohibited the

 Defendants from billing for or recovering No-Fault Benefits from GEICO or other New York

 automobile insurers for services provided by the unlicensed and unsupervised “social workers.”

        271.    As set forth above, the unlicensed “social workers” purported to perform nearly

 all, if not all, of the putative Fraudulent Services on behalf of the Lloyd Entity Defendants. In

 most cases, the unlicensed “social workers” purported to perform these services at the Clinics,

 and the services were then billed through one of the Lloyd Entity Defendants to GEICO under

 New York no-fault insurance policies.

        272.    However, the unlicensed “social workers” were not supervised by Lloyd, nor by

 any other licensed psychologist or licensed healthcare provider, when they purported to perform

 the putative Fraudulent Services in all of the claims identified in Exhibits “1” and “2”.

        273.    To the contrary, a licensed psychologist was not even present at any of the Clinics

 when the unlicensed “social workers” would purport to perform the Fraudulent Services on

 behalf of the Lloyd Entity Defendants.

        274.    Additionally, the unlicensed “social workers” were never employed by Lloyd or

 by either of the Lloyd Entity Defendants but all times were directed and controlled by Grody and

 other Managing Defendants.

        275.    In virtually all of the claims identified in Exhibits “1” and “2”, the Lloyd Entity

 Defendant’s billing (i.e. the NF-3 forms) misrepresented that the Fraudulent Services were

 lawfully performed by Lloyd and that the respective Lloyd Entity Defendant was eligible for no-




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 fault reimbursement, when in fact neither Lloyd Entity Defendant was eligible for No-Fault

 benefits because the individuals who purportedly performed the Fraudulent Services were the

 unlicensed, unsupervised “social workers” who were not employed by either Lloyd Entity

 Defendant, as well as for the additional reasons set forth in this Complaint.

 III.   The Fraudulent Billing Defendants Submitted, or Caused to be Submitted, to
        GEICO

        276.    To support their fraudulent charges, the Defendants systematically submitted or

 caused to be submitted large volumes of NF-3 forms and supporting documentation through the

 Lloyd Entity Defendant to GEICO seeking payment for the Fraudulent Services for which the

 Defendants were not entitled to receive payment.

        277.    The NF-3 forms, reports, assignment of benefits and other documents submitted

 to GEICO by and on behalf of the Defendants were false and misleading in the following

 material respects:

                (i)     The NF-3 forms, letters, records, and other supporting documentation by
                        the Defendants through the Lloyd Entity Defendants to GEICO uniformly
                        misrepresented that Lloyd had performed the Fraudulent Services, that his
                        name, license, and the tax identification numbers of the Lloyd Entity
                        Defendants were being legitimately used to bill for the Fraudulent
                        Services, making them eligible for payment pursuant to 11 N.Y.C.R.R.
                        §65-3.16(a)(12) despite the fact that the Management Defendants
                        unlawfully and secretly controlled, operated, and managed the Lloyd
                        Entity Defendants;

                (ii)    The NF-3 forms, letters, records, and other supporting documentation by
                        the Defendants through the Lloyd Entity Defendants to GEICO uniformly
                        misrepresented that the Defendants were in compliance with all material
                        laws and regulations governing healthcare practices and/or licensing laws
                        and, as a result, were eligible to receive no-fault reimbursement in the first
                        instance, when in fact they were not;

                (iii)   The NF-3 forms, letters, records, and other supporting documentation by
                        the Defendants through the Lloyd Entity Defendants to GEICO uniformly
                        misrepresented that the Fraudulent Services were provided in compliance
                        with all significant laws and regulations governing healthcare practice




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                       and/or licensing laws and, therefore, were eligible for no-fault
                       reimbursement in the first instance, when in fact they were not;

                (iv)   The NF-3 forms, letters, records, and other supporting documentation by
                       the Defendants through the Lloyd Entity Defendants to GEICO uniformly
                       concealed that the Fraudulent Services were not medically necessary and
                       were provided, to the extent provided at all, pursuant to pre-determined
                       fraudulent protocols designed solely to financially enrich the Defendants,
                       rather than to treat or otherwise benefit the Insureds who purportedly were
                       subjected to them;

                (v)    The NF-3 forms, letters, records, and other supporting documentation by
                       the Defendants through the Lloyd Entity Defendants to GEICO uniformly
                       misrepresented that the claims were eligible for payment pursuant to
                       Insurance Law § 5102(a)(1) and 11 N.Y.C.R.R. § 65-3.11 despite the fact
                       that the services were provided by unlicensed “social workers” who were
                       not supervised by Lloyd or any other licensed healthcare practitioner and
                       were not employed by Lloyd or either of the Lloyd Entity Defendants.

 IV.    Defendants’ Fraudulent Concealment and GEICO’s Justifiable Reliance

        278.    The Defendants legally and ethically were obligated to act honestly and with

 integrity in connection with the billing that they submitted, or caused to be submitted, to GEICO.

        279.    To induce GEICO to promptly pay the fraudulent charges for the Fraudulent

 Services, the Defendants systematically made material misrepresentations, concealed their fraud

 and the underlying scheme, and went to great lengths to accomplish this concealment in the

 design and implementation of the scheme, the billing submitted to GEICO, and the collection

 efforts undertaken against GEICO.

        280.    Specifically, the Defendants knowingly misrepresented and concealed facts

 related to the participation of Lloyd in the performance of the Fraudulent Services, his lack of

 control and/or management of the Lloyd Entity Defendants, the fact that the patient referrals

 were derived through financial payments or other unlawful arrangements between the

 Management Defendants and the Clinics, as well as the fact that the Fraudulent Services were

 performed by unlicensed “social workers” that were neither supervised by Lloyd or any other




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 licensed healthcare practitioner and were not employed by Lloyd or either of the Lloyd Entity

 Defendants.

         281.   Additionally, the Management Defendants entered into complex financial

 arrangements with John Doe Defendants, as well as with other third parties, that were designed

 to, and did, conceal the fact that the Defendants unlawfully exchanged kickbacks for patient

 referrals.

         282.   Furthermore, the Defendants knowingly misrepresented and concealed facts

 related to the operation and the Lloyd Entity Defendants, in the fact that Lloyd did not have any

 financial ownership of the Lloyd Entity Defendants, and that the Management Defendants

 entered into arrangements with Funders, including Financial Vision, to sell the receivables

 associated with the billing to GEICO, and other New York automobile insurers, without the

 consent of Lloyd.

         283.   Additionally, the Defendants knowingly misrepresented and concealed facts in

 order to prevent GEICO from discovering that the Fraudulent Services were: (i) medically

 unnecessary and performed pursuant to fraudulent pre-determined protocols designed to

 maximize the charges that could be submitted, rather than to benefit the Insureds who

 supposedly were subjected to the Fraudulent Services; (ii) never performed in the first instance;

 and (iii) performed by unlicensed “social workers” that were not supervised by Lloyd or any

 other licensed healthcare professional and were not employed by either of the Lloyd Entity

 Defendants.

         284.   The Collection Lawyers that associated with the Defendants pursued collection of

 the charges from GEICO. These law firms routinely filed expensive and time-consuming

 litigation against GEICO if the charges were not promptly paid in full.




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        285.    GEICO takes steps to timely respond to all claims and to ensure that no-fault

 claim denial forms or requests for additional verification of no-fault claims are properly

 addressed and mailed in a timely manner. GEICO is also under statutory and contractual

 obligations to promptly and fairly process claims within 30 days. The facially valid documents

 submitted to GEICO in support of the fraudulent charges at issue, combined with the material

 misrepresentations and other fraudulent activity described above, were designed to, and did,

 cause GEICO to rely upon them. As a result, GEICO incurred damages of more than

 $520,000.00 based on payments that were made in response to the fraudulent charges.

        286.    Based upon Defendants’ material misrepresentations and other affirmative acts to

 conceal their fraud from GEICO, GEICO did not discover, and could not reasonably have

 discovered, that its damages were attributable to fraud until shortly before it filed this Complaint.

                                 FIRST CAUSE OF ACTION
                                  Against Tristate and SLSP
                     (Declaratory Relief under 28 U.S.C. §§2201 and 2202)

        287.    GEICO incorporates, as though fully set forth herein, each and every allegation

 set forth above.

        288.    There is an actual case and controversy between GEICO and Tristate and SLSP

 regarding more than $675,000.00 in pending billing submitted through Tristate and SLSP.

        289.    Tristate and SLSP have no right to receive payment for any pending bills

 submitted to GEICO because the billed for services were submitted through psychology practices

 not legitimately owned or controlled by licensed psychologists, but which were unlawfully

 operated, managed, and controlled by the Management Defendants and Financial Vision for

 purposes of effectuating a large-scale insurance fraud scheme on GEICO and other New York

 automobile insurers.




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        290.    Tristate and SLSP have no right to receive payment for any pending bills

 submitted to GEICO because the billed for services were not medically necessary and were

 performed – to the extent performed at all – pursuant to improper financial arrangements

 between the Management Defendants and the Clinics.

        291.    Tristate and SLSP have no right to receive payment for any pending bills

 submitted to GEICO because the billed for services were not medically necessary and were

 performed – to the extent performed at all – pursuant to the dictates of unlicensed laypersons, not

 based upon legitimate decisions by licensed healthcare providers.

        292.    Tristate and SLSP have no right to receive payment from GEICO on the unpaid

 billing because the billing submitted to GEICO for the Fraudulent Services fraudulently

 misrepresented and exaggerated the level of services that purportedly were provided in order to

 inflate the charges submitted to GEICO.

        293.    Tristate and SLSP have no right to receive payment from GEICO for any pending

 bills because the psychological services that were billed through Tristate and SLSP were

 provided by unsupervised “social workers” who were not employed by Lloyd or either of the

 Lloyd Entity Defendants, in contravention of New York law.

        294.    Accordingly, GEICO requests a judgment pursuant to the Declaratory Judgment

 Act, 28 U.S.C. §§ 2201 and 2202, declaring that Tristate and SLSP have no right to receive

 payment for any pending bills submitted to GEICO.

                                SECOND CAUSE OF ACTION
                                    Against Grody and Lloyd
                            (Violation of RICO, 18 U.S.C. § 1962(c))

        295.    GEICO incorporates, as though fully set forth herein, each and every allegation

 set forth above.




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        296.    Tristate is an ongoing “enterprise” as that term is defined in 18 U.S.C. § 1961(4),

 that engages in activities that affected interstate commerce.

        297.    Grody and Lloyd knowingly have conducted and/or participated, directly or

 indirectly, in the conduct of Tristate’s affairs through a pattern of racketeering activity consisting

 of repeated violations of the federal mail fraud statute, 18 U.S.C. § 1341, based upon the use of

 the United States mails to submit or cause to be submitted thousands of fraudulent charges on a

 continuous basis since its inception seeking payments that Tristate was not eligible to receive

 under the New York no-fault insurance law because: (i) the billed for services were submitted

 through a psychology practice not legitimately owned, operated, or controlled by a licensed

 psychologist, but which was unlawfully operated, managed, and controlled by the Grody and the

 John Doe Defendants for the purposes of effectuating a large-scale insurance fraud scheme on

 GEICO and other New York automobile insurers; (ii) the billed for services were provided, to

 the extent provided at all, pursuant to the dictates of unlicensed laypersons, not based upon

 legitimate decisions by licensed healthcare providers, and as a result of illegal financial

 arrangements between the Grody and the John Doe Defendants and the Clinics; (iii) the billed for

 services were not medically necessary and were provided, to the extent provided at all, pursuant

 to pre-determined fraudulent treatment and billing protocols designed solely to financially enrich

 the Defendants, rather than to treat or otherwise benefit the Insureds; (iv) the claim submissions

 seeking payment for the billed for services uniformly misrepresented that Lloyd performed the

 services, on behalf of Tristate; (v) the claim submissions seeking payment for the billed for

 services uniformly misrepresented and exaggerated the level, nature, necessity, and results of the

 Fraudulent Services that purportedly were provided; and (vi) the Fraudulent Services were

 provided, to the extent provided at all, by unsupervised “social workers” who were not employed




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 by either Lloyd or Tristate, in contravention of New York law. The fraudulent charges and

 corresponding mailings submitted to GEICO that comprise, in part, the pattern of racketeering

 activity identified through the date of this Complaint are described, in part, in the chart annexed

 hereto as Exhibit “1”.

           298.   Tristate’s business is racketeering activity, inasmuch as the enterprise exists for

 the purpose of submitting fraudulent charges to insurers. The predicate acts of mail fraud are the

 regular way in which Grody and Lloyd operated Tristate, insofar as Tristate is not engaged in a

 legitimate psychology practice, and acts of mail fraud therefore are essential in order for Tristate

 to function. Furthermore, the intricate planning required to carry out and conceal the predicate

 acts of mail fraud implies a continued threat of criminal activity, as does the fact that Grody and

 Lloyd continue to attempt to collect on the fraudulent billing submitted through Tristate to the

 present day.

           299.   Tristate is engaged in inherently unlawful acts, inasmuch as it continues to

 attempt collection on fraudulent billing submitted to GEICO and other insurers. These inherently

 unlawful acts are taken by Tristate in pursuit of inherently unlawful goals – namely, the theft of

 money from GEICO and other insurers through fraudulent no-fault billing.

           300.   GEICO has been injured in its business and property by reason of the above-

 described conduct in that it has paid more than $128,000.00 pursuant to the fraudulent bills

 submitted through Tristate.

           301.   By reason of its injury, GEICO is entitled to treble damages, costs, and reasonable

 attorneys’ fees pursuant to 18 U.S.C. §1964(c), and any other relief the Court deems just and

 proper.




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                                 THIRD CAUSE OF ACTION
                      Against Lloyd, Grody, and the John Doe Defendants
                           (Violation of RICO, 18 U.S.C. § 1962(d))

        302.    GEICO incorporates, as though fully set forth herein, each and every allegation

 set forth above.

        303.    Tristate is an ongoing “enterprise” as that term is defined in 18 U.S.C. § 1961(4),

 that engages in activities that affected interstate commerce.

        304.    Lloyd, Grody, and the John Doe Defendants are employed by and/or associated

 with Tristate. Lloyd, Grody, and the John Doe Defendants knowingly have agreed, combined

 and conspired to conduct and/or participate, directly or indirectly, in the conduct of Tristate’s

 affairs through a pattern of racketeering activity consisting of repeated violations of the federal

 mail fraud statute, 18 U.S.C. § 1341, based upon the use of the United States mails to submit or

 cause to be submitted fraudulent charges seeking payments that Tristate was not eligible to

 receive under the No-Fault Laws because: (i) the billed for services were submitted through a

 psychology practice not legitimately owned, operated, or controlled by a licensed psychologist,

 but which was unlawfully operated, managed, and controlled by the Grody and the John Doe

 Defendants for the purposes of effectuating a large-scale insurance fraud scheme on GEICO and

 other New York automobile insurers; (ii) the billed for services were provided, to the extent

 provided at all, pursuant to the dictates of unlicensed laypersons, not based upon legitimate

 decisions by licensed healthcare providers, and as a result of illegal financial arrangements

 between the Grody and the John Doe Defendants and the Clinics; (iii) the billed for services were

 not medically necessary and were provided, to the extent provided at all, pursuant to pre-

 determined fraudulent treatment and billing protocols designed solely to financially enrich the

 Defendants, rather than to treat or otherwise benefit the Insureds; (iv) the claim submissions




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 seeking payment for the billed for services uniformly misrepresented that Lloyd performed the

 services, on behalf of Tristate; (v) the claim submissions seeking payment for the billed for

 services uniformly misrepresented and exaggerated the level, nature, necessity, and results of the

 Fraudulent Services that purportedly were provided; and (vi) the Fraudulent Services were

 provided, to the extent provided at all, by unsupervised “social workers” who were not employed

 by either Lloyd or Tristate, in contravention of New York law. The fraudulent charges and

 corresponding mailings submitted to GEICO that comprise, in part, the pattern of racketeering

 activity identified through the date of this Complaint are described, in part, in the chart annexed

 hereto as Exhibit “1”.

           305.   Lloyd, Grody, and the John Doe Defendants knew of, agreed to, and acted in

 furtherance of the common overall objective (i.e., to defraud GEICO and other insurers of

 money) by submitting or facilitating the submission of fraudulent charges to GEICO.

           306.   GEICO has been injured in its business and property by reason of the above-

 described conduct in that it has paid at least $128,000.00 pursuant to the fraudulent bills

 submitted by Defendants through Tristate.

           307.   By reason of its injury, GEICO is entitled to treble damages, costs, and reasonable

 attorneys’ fees pursuant to 18 U.S.C. § 1964(c), and any other relief the Court deems just and

 proper.

                                  FOURTH CAUSE OF ACTION
                                 Against Tristate, Lloyd, and Grody
                                      (Common Law Fraud)

           308.   GEICO incorporates, as though fully set forth herein, each and every allegation

 set forth above.




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        309.    Tristate, Lloyd, and Grody intentionally and knowingly made false and fraudulent

 statements of material fact to GEICO and concealed material facts from GEICO in the course of

 their submission of thousands of fraudulent charges seeking payment for the Fraudulent

 Services.

        310.    The false and fraudulent statements of material fact and acts of fraudulent

 concealment include the representation that: (i) the billed for services were submitted through a

 psychology practice that was legitimately owned, operated, or controlled by a licensed

 psychologist, when they were not; (ii) the billed for services were provided based upon

 legitimate decisions by licensed healthcare providers, when they were the result of illegal

 financial arrangements between Grody and the Clinics; (iii) the billed for services were

 medically necessary and were provided, when – to the extent provided at all – they were

 pursuant to pre-determined fraudulent treatment and billing protocols designed solely to

 financially enrich the Defendants, rather than to treat or otherwise benefit the Insureds; (iv) the

 Fraudulent Services were performed by Lloyd, on behalf of Tristate, when they were performed

 by unlicensed “social workers” who were not supervised by a licensed psychologist; (v) the

 billed for services were actually provided by Lloyd, on behalf of Tristate, when the billed for

 services exaggerated what was actually provided to the Insureds; and (vi) the Fraudulent

 Services were provided in compliance with New York law, when they were not.

        311.    Tristate, Lloyd, and Grody intentionally made the above–described false and

 fraudulent statements and concealed material facts in a calculated effort to induce GEICO to pay

 charges submitted through Tristate that were not compensable under New York no-fault

 insurance laws.




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           312.   GEICO justifiably relied on these false and fraudulent representations and acts of

 fraudulent concealment, and as a proximate result has been injured in its business and property

 by reason of the above–described conduct in that it has paid more than $128,000.00 pursuant to

 the fraudulent bills submitted by the Defendants through Tristate.

           313.   Tristate, Lloyd, and Grody extensive fraudulent conduct demonstrates a high

 degree of moral turpitude and wanton dishonesty that entitles GEICO to recover punitive

 damages.

           314.   Accordingly, by virtue of the foregoing, GEICO is entitled to compensatory and

 punitive damages, together with interest and costs, and any other relief the Court deems just and

 proper.

                                  FIFTH CAUSE OF ACTION
                                Against Tristate, Lloyd, and Grody
                                      (Unjust Enrichment)

           315.   GEICO incorporates, as though fully set forth herein, each and every allegation

 set forth above.

           316.   As set forth above, Tristate, Lloyd, and Grody engaged in improper, unlawful,

 and/or unjust acts, all to the harm and detriment of GEICO.

           317.   When GEICO paid the bills and charges submitted by or on behalf of Tristate for

 No-Fault Benefits, it reasonably believed that it was legally obligated to make such payments

 based on Tristate, Lloyd, and Grody’s improper, unlawful, and/or unjust acts.

           318.   Tristate, Lloyd, and Grody have been enriched at GEICO’s expense by GEICO’s

 payments which constituted a benefit that Tristate, Lloyd, and Grody voluntarily accepted

 notwithstanding their improper, unlawful, and unjust billing scheme.




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        319.    Tristate, Lloyd, and Grody’s retention of GEICO’s payments violates

 fundamental principles of justice, equity and good conscience.

        320.    By reason of the above, Tristate, Lloyd, and Grody have been unjustly enriched in

 an amount to be determined at trial, but in no event less than $128,000.00.

                                SIXTH CAUSE OF ACTION
                     Against Grody, Lloyd, N. Tariverdiev, K. Tariverdiev,
                          Stoyanovsky, Khavko, Islamov, and Pakoys
                           (Violation of RICO, 18 U.S.C. § 1962(c))

        321.    GEICO incorporates, as though fully set forth herein, each and every allegation

 set forth above.

        322.    SLSP is an ongoing “enterprise” as that term is defined in 18 U.S.C. § 1961(4),

 that engages in activities that affected interstate commerce.

        323.    Grody, Lloyd, N. Tariverdiev, K. Tariverdiev, Stoyanovsky, Khavko, Islamov,

 and Pakoys knowingly have conducted and/or participated, directly or indirectly, in the conduct

 of SLSP’s affairs through a pattern of racketeering activity consisting of repeated violations of

 the federal mail fraud statute, 18 U.S.C. § 1341, based upon the use of the United States mails to

 submit or cause to be submitted thousands of fraudulent charges on a continuous basis since its

 inception seeking payments that SLSP was not eligible to receive under the New York no-fault

 insurance law because: (i) the billed for services were submitted through a psychology practice

 not legitimately owned, operated, or controlled by a licensed psychologist, but which was

 unlawfully operated, managed, and controlled by the Management Defendants for the purposes

 of effectuating a large-scale insurance fraud scheme on GEICO and other New York automobile

 insurers; (ii) the billed for services were provided, to the extent provided at all, pursuant to the

 dictates of unlicensed laypersons, not based upon legitimate decisions by licensed healthcare

 providers, and as a result of illegal financial arrangements between the Management Defendants




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 and the Clinics; (iii) the billed for services were not medically necessary and were provided, to

 the extent provided at all, pursuant to pre-determined fraudulent treatment and billing protocols

 designed solely to financially enrich the Defendants, rather than to treat or otherwise benefit the

 Insureds; (iv) the claim submissions seeking payment for the billed for services uniformly

 misrepresented that Lloyd performed the services, on behalf of the SLSP; (v) the claim

 submissions seeking payment for the billed for services uniformly misrepresented and

 exaggerated the level, nature, necessity, and results of the Fraudulent Services that purportedly

 were provided; and (vi) the Fraudulent Services were provided, to the extent provided at all, by

 unsupervised “social workers” who were not employed by either Lloyd or the SLSP, in

 contravention of New York law. The fraudulent charges and corresponding mailings submitted

 to GEICO that comprise, in part, the pattern of racketeering activity identified through the date

 of this Complaint are described, in part, in the chart annexed hereto as Exhibit “2”.

        324.    SLSP’s business is racketeering activity, inasmuch as the enterprise exists for the

 purpose of submitting fraudulent charges to insurers. The predicate acts of mail fraud are the

 regular way in which Grody, Lloyd, N. Tariverdiev, K. Tariverdiev, Stoyanovsky, Khavko,

 Islamov, and Pakoys operated SLSP, insofar as SLSP is not engaged in a legitimate psychology

 practice, and acts of mail fraud therefore are essential in order for SLSP to function.

 Furthermore, the intricate planning required to carry out and conceal the predicate acts of mail

 fraud implies a continued threat of criminal activity, as does the fact that Grody, Lloyd, N.

 Tariverdiev, K. Tariverdiev, Stoyanovsky, Khavko, Islamov, and Pakoys continue to attempt to

 collect on the fraudulent billing submitted through SLSP to the present day.

        325.    SLSP is engaged in inherently unlawful acts, inasmuch as it continues to attempt

 collection on fraudulent billing submitted to GEICO and other insurers. These inherently




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 unlawful acts are taken by SLSP in pursuit of inherently unlawful goals – namely, the theft of

 money from GEICO and other insurers through fraudulent no-fault billing.

           326.   GEICO has been injured in its business and property by reason of the above-

 described conduct in that it has paid more than $391,000.00 pursuant to the fraudulent bills

 submitted through SLSP.

           327.   By reason of its injury, GEICO is entitled to treble damages, costs, and reasonable

 attorneys’ fees pursuant to 18 U.S.C. §1964(c), and any other relief the Court deems just and

 proper.

                            SEVENTH CAUSE OF ACTION
   Against Grody, Lloyd, N. Tariverdiev, K. Tariverdiev, Stoyanovsky, Khavko, Islamov,
                 Pakoys, Financial Vision, and the John Doe Defendants
                         (Violation of RICO, 18 U.S.C. § 1962(d))

           328.   GEICO incorporates, as though fully set forth herein, each and every allegation

 set forth above.

           329.   SLSP is an ongoing “enterprise” as that term is defined in 18 U.S.C. § 1961(4),

 that engages in activities that affected interstate commerce.

           330.   Grody, Lloyd, N. Tariverdiev, K. Tariverdiev, Stoyanovsky, Khavko, Islamov,

 Pakoys, Financial Vision, and the John Doe Defendants are employed by and/or associated with

 SLSP. Grody, Lloyd, N. Tariverdiev, K. Tariverdiev, Stoyanovsky, Khavko, Islamov, Pakoys,

 Financial Vision, and the John Doe Defendants knowingly have agreed, combined and conspired

 to conduct and/or participate, directly or indirectly, in the conduct of SLSP’s affairs through a

 pattern of racketeering activity consisting of repeated violations of the federal mail fraud statute,

 18 U.S.C. § 1341, based upon the use of the United States mails to submit or cause to be

 submitted fraudulent charges seeking payments that SLSP was not eligible to receive under the

 No-Fault Laws because: (i) the billed for services were submitted through a psychology practice




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 not legitimately owned, operated, or controlled by a licensed psychologist, but which was

 unlawfully operated, managed, and controlled by the Management Defendants for the purposes

 of effectuating a large-scale insurance fraud scheme on GEICO and other New York automobile

 insurers; (ii) the billed for services were provided, to the extent provided at all, pursuant to the

 dictates of unlicensed laypersons, not based upon legitimate decisions by licensed healthcare

 providers, and as a result of illegal financial arrangements between the Management Defendants

 and the Clinics; (iii) the billed for services were not medically necessary and were provided, to

 the extent provided at all, pursuant to pre-determined fraudulent treatment and billing protocols

 designed solely to financially enrich the Defendants, rather than to treat or otherwise benefit the

 Insureds; (iv) the claim submissions seeking payment for the billed for services uniformly

 misrepresented that Lloyd performed the services, on behalf of the SLSP; (v) the claim

 submissions seeking payment for the billed for services uniformly misrepresented and

 exaggerated the level, nature, necessity, and results of the Fraudulent Services that purportedly

 were provided; and (vi) the Fraudulent Services were provided, to the extent provided at all, by

 unsupervised “social workers” who were not employed by either Lloyd or the SLSP, in

 contravention of New York law. The fraudulent charges and corresponding mailings submitted

 to GEICO that comprise, in part, the pattern of racketeering activity identified through the date

 of this Complaint are described, in part, in the chart annexed hereto as Exhibit “2”.

        331.    Grody, Lloyd, N. Tariverdiev, K. Tariverdiev, Stoyanovsky, Khavko, Islamov,

 Pakoys, Financial Vision, and the John Doe Defendants knew of, agreed to, and acted in

 furtherance of the common overall objective (i.e., to defraud GEICO and other insurers of

 money) by submitting or facilitating the submission of fraudulent charges to GEICO.




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           332.   GEICO has been injured in its business and property by reason of the above-

 described conduct in that it has paid at least $391,000.00 pursuant to the fraudulent bills

 submitted by Defendants through SLSP.

           333.   By reason of its injury, GEICO is entitled to treble damages, costs, and reasonable

 attorneys’ fees pursuant to 18 U.S.C. § 1964(c), and any other relief the Court deems just and

 proper.

                                 EIGHTH CAUSE OF ACTION
                    Against SLSP, Grody, Lloyd, N. Tariverdiev, K. Tariverdiev,
                            Stoyanovsky, Khavko, Islamov, and Pakoys
                                     (Common Law Fraud)

           334.   GEICO incorporates, as though fully set forth herein, each and every allegation

 set forth above.

           335.   SLSP, Grody, Lloyd, N. Tariverdiev, K. Tariverdiev, Stoyanovsky, Khavko,

 Islamov, and Pakoys intentionally and knowingly made false and fraudulent statements of

 material fact to GEICO and concealed material facts from GEICO in the course of their

 submission of thousands of fraudulent charges seeking payment for the Fraudulent Services.

           336.   The false and fraudulent statements of material fact and acts of fraudulent

 concealment include the representation that: (i) the billed for services were submitted through a

 psychology practice that was legitimately owned, operated, or controlled by a licensed

 psychologist, when they were not; (ii) the billed for services were provided based upon

 legitimate decisions by licensed healthcare providers, when they were the result of illegal

 financial arrangements between the Management Defendants and the Clinics; (iii) the billed for

 services were medically necessary and were provided, when – to the extent provided at all – they

 were pursuant to pre-determined fraudulent treatment and billing protocols designed solely to

 financially enrich the Defendants, rather than to treat or otherwise benefit the Insureds; (iv) the




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 Fraudulent Services were performed by Lloyd, on behalf of SLSP, when they were performed by

 unlicensed “social workers” who were not supervised by a licensed psychologist; (v) the billed

 for services were actually provided by Lloyd, on behalf of SLSP, when the billed for services

 exaggerated what was actually provided to the Insureds; and (vi) the Fraudulent Services were

 provided in compliance with New York law, when they were not.

           337.   SLSP, Grody, Lloyd, N. Tariverdiev, K. Tariverdiev, Stoyanovsky, Khavko,

 Islamov, and Pakoys intentionally made the above–described false and fraudulent statements and

 concealed material facts in a calculated effort to induce GEICO to pay charges submitted through

 SLSP that were not compensable under New York no-fault insurance laws.

           338.   GEICO justifiably relied on these false and fraudulent representations and acts of

 fraudulent concealment, and as a proximate result has been injured in its business and property

 by reason of the above–described conduct in that it has paid more than $391,000.00 pursuant to

 the fraudulent bills submitted by the Defendants through SLSP.

           339.   SLSP, Grody, Lloyd, N. Tariverdiev, K. Tariverdiev, Stoyanovsky, Khavko,

 Islamov, and Pakoys’s extensive fraudulent conduct demonstrates a high degree of moral

 turpitude and wanton dishonesty that entitles GEICO to recover punitive damages.

           340.   Accordingly, by virtue of the foregoing, GEICO is entitled to compensatory and

 punitive damages, together with interest and costs, and any other relief the Court deems just and

 proper.

                                   NINTH CAUSE OF ACTION
                                     Against Financial Vision
                                   (Aiding and Abetting Fraud)

           341.   GEICO incorporates, as though fully set forth herein, each and every allegation

 set forth above.




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        342.   Financial Vision knowingly aided and abetted the fraudulent scheme that was

 perpetrated on GEICO by SLSP, Grody, Lloyd, N. Tariverdiev, K. Tariverdiev, Stoyanovsky,

 Khavko, Islamov, and Pakoys.

        343.   The acts of Financial Vision in furtherance of the fraudulent scheme described

 herein included, among other things: (i) associating with the Management Defendants to falsely

 create the appearance that Financial Vision provided legitimate goods and/or services to Lloyd

 and the SLSP; and (ii) providing money to the Management Defendants to further the fraudulent

 scheme through the SLSP in exchange for obtaining the profits from the SLSP’s submission of

 No-Fault bills to GEICO, and other automobile insurers.

        344.   The conduct of Financial Vision in furtherance of the fraudulent scheme was

 significant and material. The conduct was a necessary part of and was critical to the success of

 the overall fraudulent scheme because, without their participation and their actions, Lloyd and

 the Management Defendants would not have been able to: (i) conceal the identities and

 participation of unlicensed laypersons in the fraudulent scheme; (ii) funnel monies to unlicensed

 laypersons and entities and pay expenses to fund the fraudulent scheme, including payments to

 access the Clinics and payments to the unlicensed “social workers”.

        345.   Financial Vision aided and abetted the fraudulent scheme in a calculated effort to

 allow the Management Defendants, and other unlicensed laypersons to participate and profit

 from the fraudulent scheme and pay the expenses to fund the scheme.

        346.   The conduct of Financial Vision caused GEICO to pay more than $391,000.00

 pursuant to the fraudulent bills and other supporting documentation that were submitted to

 GEICO by or on behalf of the SLSP.




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           347.   This extensive fraudulent conduct demonstrates a high degree of moral turpitude

 and wanton dishonesty that entitles GEICO to recover punitive damages.

           348.   Accordingly, by virtue of the foregoing, GEICO is entitled to compensatory and

 punitive damages, together with interest and costs, and any other relief the Court deems just and

 proper.

                                  TENTH CAUSE OF ACTION
                    Against SLSP, Grody, Lloyd, N. Tariverdiev, K. Tariverdiev,
                    Stoyanovsky, Khavko, Islamov, Pakoys, and Financial Vision
                                      (Unjust Enrichment)

           349.   GEICO incorporates, as though fully set forth herein, each and every allegation

 set forth above.

           350.   As set forth above, SLSP, Grody, Lloyd, N. Tariverdiev, K. Tariverdiev,

 Stoyanovsky, Khavko, Islamov, Pakoys, and Financial Vision engaged in improper, unlawful,

 and/or unjust acts, all to the harm and detriment of GEICO.

           351.   When GEICO paid the bills and charges submitted by or on behalf of SLSP for

 No-Fault Benefits, it reasonably believed that it was legally obligated to make such payments

 based on SLSP, Grody, Lloyd, N. Tariverdiev, K. Tariverdiev, Stoyanovsky, Khavko, Islamov,

 Pakoys, and Financial Vision’s improper, unlawful, and/or unjust acts.

           352.   SLSP, Grody, Lloyd, N. Tariverdiev, K. Tariverdiev, Stoyanovsky, Khavko,

 Islamov, Pakoys, and Financial Vision have been enriched at GEICO’s expense by GEICO’s

 payments which constituted a benefit that SLSP, Grody, Lloyd, N. Tariverdiev, K. Tariverdiev,

 Stoyanovsky, Khavko, Islamov, Pakoys, and Financial Vision                 voluntarily accepted

 notwithstanding their improper, unlawful, and unjust billing scheme.




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         353.   SLSP, Grody, Lloyd, N. Tariverdiev, K. Tariverdiev, Stoyanovsky, Khavko,

 Islamov, Pakoys, and Financial Vision’ retention of GEICO’s payments violates fundamental

 principles of justice, equity and good conscience.

         354.   By reason of the above, SLSP, Grody, Lloyd, N. Tariverdiev, K. Tariverdiev,

 Stoyanovsky, Khavko, Islamov, Pakoys, and Financial Vision have been unjustly enriched in an

 amount to be determined at trial, but in no event less than $391,000.00.

                                         JURY DEMAND

         355.   Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by

 jury.

         WHEREFORE, Plaintiffs Government Employees Insurance Company, GEICO

 Indemnity Company, GEICO General Insurance Company, and GEICO Casualty Company

 demand that a Judgment be entered in their favor:

         A.     On the First Cause of Action against the Tristate and SLSP, a declaration pursuant

 to the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, that Tristate and SLSP have no

 right to receive payment for any pending bills submitted to GEICO;

         B.     On the Second Cause of Action against Grody and Lloyd, compensatory damages

 in favor of GEICO in an amount to be determined at trial but in excess of $128,000.00, together

 with treble damages, costs, and reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c) plus

 interest;

         C.     On the Third Cause of Action against Lloyd, Grody, and the John Doe

 Defendants, compensatory damages in favor of GEICO in an amount to be determined at trial but

 in excess of $128,000.00, together with treble damages, costs, and reasonable attorneys’ fees

 pursuant to 18 U.S.C. § 1964(c) plus interest;




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           D.   On the Fourth Cause of Action against Tristate, Lloyd, and Grody, compensatory

 damages in favor of GEICO an amount to be determined at trial but in excess of $128,000.00,

 together with punitive damages, costs, interest, and such other relief as this Court deems just and

 proper;

           E.   On the Fifth Cause of Action against Tristate, Lloyd, and Grody for more than

 $128,000.00 in compensatory damages, plus costs, interest and such other and further relief as

 this Court deems just and proper;

           F.   On the Sixth Cause of Action against Lloyd, Grody, N. Tariverdiev, K.

 Tariverdiev, Stoyanovsky, Khavko, Islamov, and Pakoys, compensatory damages in favor of

 GEICO in an amount to be determined at trial but in excess of $391,000.00, together with treble

 damages, costs, and reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c) plus interest;

           G.   On the Seventh Cause of Action against Lloyd, Grody, N. Tariverdiev, K.

 Tariverdiev, Stoyanovsky, Khavko, Islamov, Pakoys, Financial Vision, and John Doe

 Defendants, compensatory damages in favor of GEICO in an amount to be determined at trial but

 in excess of $391,000.00, together with treble damages, costs, and reasonable attorneys’ fees

 pursuant to 18 U.S.C. § 1964(c) plus interest;

           H.   On the Eighth Cause of Action against SLSP, Lloyd, Grody, N. Tariverdiev, K.

 Tariverdiev, Stoyanovsky, Khavko, Islamov, and Pakoys, compensatory damages in favor of

 GEICO an amount to be determined at trial but in excess of $391,000.00, together with punitive

 damages, costs, interest, and such other relief as this Court deems just and proper;

           I.   On the Ninth Cause of Action against Financial Vision compensatory damages in

 favor of GEICO an amount to be determined at trial but in excess of $391,000.00, together with

 punitive damages, costs, interest, and such other relief as this Court deems just and proper; and




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        J.       On the Tenth Cause of Action against SLSP, Lloyd, Grody, N. Tariverdiev, K.

 Tariverdiev, Stoyanovsky, Khavko, Islamov, Pakoys, and Financial Vision for more than

 $391,000.00 in compensatory damages, plus costs, interest and such other and further relief as

 this Court deems just and proper.

 Dated: August 12, 2024
                                                    RIVKIN RADLER LLP

                                                    By:   /s/Barry I. Levy
                                                           Barry I. Levy, Esq.
                                                           Michael Vanunu, Esq.
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